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1                        IN THE UNITED STATES DISTRICT COURT

2                             FOR THE DISTRICT OF NEW MEXICO

3    ___________________________
                                )
4    UNITED STATES OF AMERICA,  )                      No. 1:18-CR-03475-WJ
                                )
5              Plaintiff,       )
                                )                      P e t e V . D o m e n i c i U . S. C o u r t h o u s e
6         vs.                   )                      Cimarron Courtroom
                                )                      A l b u q u e r q u e , N e w M e xi c o
7    ROBERT DUNSWORTH,          )                      T u e s d a y , M a r c h 1 0 , 20 2 0
                                )                      9:30 A.M.
8              Defendant.       )
     ___________________________)
9

10                           TRANSCRIPT OF PROCEEDINGS
                        HEARING RE: DEFENDANT'S MOTION FOR
11                       SUPPRESSION OF EVIDENCE (Doc. 39)
                      BEFORE THE HONORABLE WILLIAM P. JOHNSON
12                      CHIEF UNITED STATES DISTRICT JUDGE

13

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24        P r o c e e d i n g s r e p o r t e d b y m a c h i n e s h o r t h a n d a n d t r a n sc r i p t

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     USA v. Dunsworth                                                                          3-10-2020
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1    (In Open Court at 9:38 A.M.)

2                     THE COURT:          All right.           W e ' r e i n s e s s i o n i n t h e c a se

3    o f t h e U n i t e d S t a t e s v s . R o b e r t D u n s w o r t h , 1 8 - C R - 3 47 5 .

4                     W o u l d c o u n s e l e n t e r t h e i r a p p e a r a n c e s f o r t h e r e c o rd ,

5    please.

6                     MR. OUTLER:           Good morning, Your Honor.                     Tom Outler

7    for the United States.                   With me at counsel table is Jack

8    B u r k h e a d , a n d a l s o a s p e c i a l a g e n t w i t h t h e A T F , S am S u p n i k .

9                     MS. RIVAS:          Good morning, Your Honor.                     I r m a R i v a s on

10   behalf of Mr. Dunsworth, who is present in custody this

11   morning.         Also present this morning is our student, Lidiya

12   Bayliyeva, who appears with the Court's permission.                                       She does

13   ask to be excused at about 10:15.

14                    THE COURT:          Sure, that's fine.

15                    MS. RIVAS:          Thank you.

16                    THE COURT:          This is set today on the Defendant's

17   Motion to Suppress.                I've reviewed the matters.                      Do counsel

18   want to go ahead and proceed with testimony?

19                    MR. OUTLER:           We do, Your Honor.                The United States is

20   ready to proceed.               I d o w a n t t o p o i n t o u t o n e m i s t ak e t h a t I

21   made in the briefing for the Court.

22                    There are three police officers involved in this

23   c a s e , J o h n M o n t o y a , C h a r l e s C h a v e z a n d Z a k k e r y F o s te r .   The

24   C o u r t w i l l h e a r f r o m a l l t h r e e o f t h e s e o f f i c e r s t od a y a n d

25   watch portions of their lapel videos.                             I m a d e t h e mi s t a k e o f


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1    attributing some of the actions of John Montoya to Charles

2    Chavez and vice versa in the brief.                          A f t e r t h i s h e ar i n g , I ' l l

3    be happy to submit a corrected version of the brief if that

4    will help the Court.                But the Court will hear from all three of

5    these witnesses today.

6                    THE COURT:          Okay.

7                    MR. OUTLER:           Thank you.          I f t h e C o u r t i s r e a d y , w e 'l l

8    call our first witness.

9                    THE COURT:          Sure.       And then, are the witnesses

10   outside?

11                   MR. OUTLER:           The witnesses are all three outside,

12   yes.

13                   THE COURT:          Do you want the Rule invoked?

14                   MS. RIVAS:          Yes, Your Honor.

15                   THE COURT:          All right, that's fine.                   Then just as

16   t h e y ' r e r e a d y t o t e s t i f y , t h e y c a n c o m e i n t o t h e c ou r t r o o m .

17                   MR. OUTLER:           The United States first calls John

18   Montoya.

19                   MR. GARCIA:            Good morning, sir.                Please raise your

20   right hand.

21                   (JOHN MONTOYA, GOVERNMENT WITNESS, SWORN)

22                   MR. GARCIA:           Please have a seat and state your full

23   name for the record.

24                   THE WITNESS:           My name is John Montoya.

25                   THE COURT:          Counsel may proceed.


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1                                      DIRECT EXAMINATION

2    BY MR. OUTLER:

3    Q.   Mr. Montoya, what do you do for a living?

4    A.   I j u s t r e c e n t l y r e t i r e d f r o m t h e A l b u q u e r q u e P o l ic e

5    Department.

6    Q.   All right.          W e r e y o u s t i l l e m p l o y e d a t t h e A l b u q ue r q u e

7    Police Department on June 25, 2018?

8    A.   Yes.

9    Q.   At that time, approximately how long had you been on the

10   force?

11   A.   Roughly 17 years.

12   Q.   All right.          W e ' r e h e r e t o d a y i n c o u r t t o t a l k a b ou t a c a l l

13   for service and an arrest on June 25, 2018.                              Do you recall that

14   call for service and arrest?

15   A.   Yes.

16   Q.   You were present there?

17   A.   That's correct.

18   Q.   How many other officers were also present?

19   A.   There were two others.

20   Q.   Who were they?

21   A.   O f f i c e r C h a r l e s C h a v e z a n d R e c r u i t O f f i c e r Z a k F os t e r .

22   Q.   When you say recruit officer, what do you mean?

23   A.   He was in training with me.                      I w a s h i s F i e l d T r a in i n g

24   Officer.

25   Q.   Okay.      So you were riding in the same vehicle?


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1    A.      That's correct.

2    Q.      And how did the incident on June 25, 2018, start?

3    A.      We had a call for service.                      The caller indicated that

4    there was an RV parked on the street.                             It had been there for

5    more than three days.                  There was also a motorcycle on the

6    sidewalk blocking the sidewalk.

7    Q.      Okay.       So your purpose there was?

8    A.      To get this individual moving along.                             W e ' d b e e n ha v i n g

9    p r o b l e m s i n t h e S o u t h e a s t w i t h R V s p a r k i n g o n t h e si d e o f

10   b u s i n e s s e s , a n d t h e S o u t h e a s t A r e a C o m m a n d w a s p r e tt y s t r o n g

11   that we need to get these individuals moving.

12   Q.      Okay.       I b e l i e v e y o u s a i d y o u a r r i v e d o n t h e s c e ne w i t h

13   Officer Foster in the same vehicle?

14   A.      That's correct.              H e w a s d r i v i n g , I w a s r i d i n g p a ss e n g e r .

15   Q.      Okay.       A n d O f f i c e r C h a v e z a r r i v e d i n a s e p a r a t e ve h i c l e ?

16   A.      That's correct.

17   Q.      What did you see when the three of you arrived?

18   A.      We parked south of the RV.                      We saw the RV.             I saw the

19   motorcycle on the sidewalk.                      T h e r e w a s a l s o s o m e d eb r i s , I

20   think it was a ladder, laying out on the sidewalk, also,

21   between the RV and the motorcycle.

22   Q.      Okay.       G i v e n w h a t y o u s a w t h e r e a t t h e s c e n e , w h at w a s t h e

23   outcome that you needed to achieve?

24   A.      Get the individual moving along.

25   Q.      So what if you had not found an individual there?


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1    A.      What if I would have not found?                         I w a s m o s t l i k e ly g o i n g

2    to have to tow everything that I see there.

3    Q.      And why is that?

4    A.      The motorcycle is blocking the sidewalk.                               The RV there, it

5    l o o k s l i k e s o m e b o d y h a s a l r e a d y s e t u p c a m p , s o i t 's i l l e g a l t o

6    be living out of an RV on the street.                             I f t h e r e ' s no i n d i v i d u a l

7    around, I'm going to have to tow it, most likely.

8    Q.      Okay.       S o o n e w a y o r a n o t h e r , y o u c o u l d n o t - - t he p o l i c e

9    o f f i c e r s c o u l d n o t l e a v e t h a t s c e n e u n t i l a r r a n g e m en t s w e r e

10   m a d e t o m o v e t h a t v e h i c l e , o r m o v e b o t h t h e t r u c k an d t h e

11   trailer and the motorcycle?

12   A.      That's correct.

13   Q.      S o w h a t a r e y o u r o p t i o n s f o r m o v i n g a v e h i c l e l i ke t h a t ,

14   or vehicles?

15   A.      We can try to find the owner to the RV and make

16   a r r a n g e m e n t s f o r t h e m t o g e t d o w n t h e r e a n d h a v e t he R V t o w e d ,

17   or we can tow it ourselves.                      W e c a n a l s o - - t y p i c a ll y i f I g e t

18   a call that there's a car parked on the street and the caller

19   s a y s , i t j u s t a r r i v e d t h e r e , m a y b e I m i g h t p u t a r ed t a g o n i t

20   a n d l e t t h a t i n d i v i d u a l , l e t t h e o w n e r o f t h e v e h i cl e k n o w t h a t

21   the police were here, just please move the vehicle.                                       But this

22   v e h i c l e w a s s i t t i n g t h e r e f o r s o l o n g t h a t w e n e e d ed t o t a k e

23   s o m e k i n d o f l a w e n f o r c e m e n t a c t i o n , a n d w e c a n c a ll f o r a t o w

24   truck and get it towed.

25   Q.      Okay.       I f y o u d o w i n d u p t o w i n g , w h a t p r o c e d u r e do y o u


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1    have to follow to do that?

2    A.      We need to try to find the owner.                         We need to try to -- if

3    w e ' r e g o i n g t o t o w i t , w e n e e d t o d o s o m e t y p e o f in v e n t o r y o f

4    the vehicle, and whatever we decide to collect and tag for

5    safekeeping, we tag it and then we have the vehicle towed.                                           We

6    d o n ' t w a n t a n y t h i n g i n s i d e o f t h e v e h i c l e g e t t i n g in t o t h e

7    wrong hands.

8    Q.      Okay.      I believe you started to explain this, but what's

9    the purpose of doing an inventory of what's in the vehicle?

10   A.      J u s t t o s e c u r e t h e p r o p e r t y t h a t ' s i n - - s e c u r e th e

11   owner's property.

12   Q.      A n d i s i t m a n d a t o r y t h a t y o u d o s o m e s o r t o f i n v en t o r y

13   search prior to towing?

14   A.      Yes.      It's in our SOP.

15   Q.      Okay.      So you've described what you first saw and then the

16   o u t c o m e t h a t y o u n e e d e d t o a c h i e v e , m o v i n g t h e v e h ic l e s o n .       As

17   you approached the trailer, what did you see?

18   A.      Like I said, the motorcycle, the ladder.                              I s a w th a t t h e

19   door to the trailer was ajar.                      I t w a s n ' t f u l l y s h u t.     And the

20   RV seemed to be connected to a pickup, and that was my first

21   initial scene.

22   Q.      Okay.      W h a t t h e n d i d y o u o r a n y o f t h e o t h e r o f f ic e r s d o ?

23   A.      W e l l , s i n c e - - w e l l , n o w , O f f i c e r F o s t e r w a s a r ec r u i t .        I

24   w a i t e d t o s e e w h a t k i n d o f d e c i s i o n - m a k i n g h e w a s go i n g t o

25   make.      He decided to knock on the trailer, knock on the door,


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1    to try to get somebody's attention.

2    Q.      So what happened after he knocked on the door?

3    A.      He knocked on the door once.                       Nobody came to the door.                      He

4    k n o c k e d o n t h e d o o r t w i c e a n d n o b o d y c a m e t o t h e d oo r .         And

5    then I saw a little bit of hesitation in him, so I kind of took

6    t h e i n i t i a t i v e a n d I w a l k e d u p t o t h e d o o r a n d o p e ne d t h e d o o r .

7    Q.      All right.          S o w h e n h e k n o c k e d o n t h e d o o r , d i d he s a y

8    anything?

9    A.      He said -- yeah.              He said:         " T h i s i s t h e A l b u q u e rq u e

10   Police Department."

11   Q.      All right.          And so after the second time that he knocked

12   o n t h e d o o r a n d s a i d , A l b u q u e r q u e P o l i c e D e p a r t m e n t, h o w m u c h

13   t i m e w e n t b y b e f o r e y o u a p p r o a c h e d a n d a l s o k n o c k e d?

14   A.      Less than a minute, I would say.

15   Q.      Okay.       A n d I b e l i e v e y o u s a i d y o u w e n t t o t h e t r ai l e r a n d

16   opened the door.              Did you say anything or knock on the door,

17   yourself?

18   A.      No, sir.         I just opened the door.

19   Q.      And you said the door was partially open at that point?

20   A.      Yeah, it's partially open.

21   Q.      Could you see inside the trailer?

22   A.      No, I couldn't see in at that point.

23   Q.      All right.          Why did you open that door.

24   A.      I wanted to see if somebody was really inside the trailer.

25   If nobody's there, like I said, we're going to have to tow it,


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1    a n d I c a n ' t b e t o w i n g v e h i c l e s w i t h i n d i v i d u a l s s t il l i n s i d e

2    the trailer, in the RV.

3    Q.      So you were -- at that point, you still believed that if

4    nobody was home, you were going to have to tow this vehicle?

5    A.      That's correct.

6    Q.      I s i t f a i r t o s a y y o u w e r e , b y p u s h i n g t h e d o o r op e n , y o u

7    w e r e s i m p l y t r y i n g t o c o n f i r m t h a t n o b o d y w a s , i n fa c t , h o m e ?

8    A.      That's correct.

9    Q.      What did you see when you pushed open that door?

10   A.      There was a bed right next to the door.                               So I saw an

11   individual laying down in bed, and I called out to him and I

12   asked him to step out of the RV.

13   Q.      Did you ever enter the trailer?

14   A.      No, sir.

15   Q.      Was the person you saw in the trailer alone?

16   A.      He said he was alone -- no.                      He said he was there with his

17   wife.      I asked him to step out and I asked him what his wife's

18   name was.         I don't remember what it was.                        I called out from

19   outside, I called out, but nobody answered.

20   Q.      A t a n y t i m e , d i d y o u e v e r e n t e r t h e t r a i l e r , i t s el f ?

21   A.      No, not that I recall, no.

22   Q.      Did you even stick your head back in there or say anything

23   further?

24   A.      No.     I h a d a n i n d i v i d u a l o u t s i d e a n d I h a d a r e c ru i t , s o

25   now my focus was back on the individual who I asked to step


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1    out.

2    Q.      Okay.      S o a s t h e m a n s t e p p e d o u t , d e s c r i b e t h e c on t a c t

3    that police had with him at that point.

4    A.      We asked him his name.                 He gave us his name.                  I th i n k h e

5    did produce a driver's license, also.

6    Q.      Do you remember the name he gave you?

7    A.      I do not remember.               I t h i n k t h e l a s t n a m e w a s D u ns w o r t h .

8    I don't recall the first name.

9    Q.      So he gave you his name, he produced an ID.                                What happened

10   next?

11   A.      Then, as we typically do, we run all individuals through

12   NCIC, checking for warrants.                     I t h i n k m y r e c r u i t c he c k e d h i m

13   for warrants.           He did have a warrant.                   A f t e r w e c o nf r o n t e d h i m

14   a b o u t i t , M r . D u n s w o r t h a b o u t t h a t w a r r a n t , h e s a i d, y e a h , I

15   think I do have warrants.                   A n d a t t h a t t i m e t h e i n di v i d u a l w a s

16   placed under arrest.

17   Q.      Okay.      D i d t h e f a c t t h a t y o u a r r e s t e d t h i s i n d i v id u a l

18   change the outcome that you had to achieve with the vehicle,

19   itself?

20   A.      No.     Now it's -- it's solidified now.                         U n l e s s I fi n d

21   s o m e b o d y t h a t c a n c o m e d o w n t h e r e i m m e d i a t e l y a n d pi c k u p t h a t

22   RV, then now I have to tow the vehicle.

23   Q.      W a s t h e r e a n y a t t e m p t t o f i n d s o m e b o d y e l s e t o c om e a n d

24   move that vehicle?

25   A.      Yeah.      H e d i d g i v e a n a m e o f I t h i n k h i s g i r l f r i en d o r


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1    wife.      I don't remember.              H e d i d g i v e u s a n a m e , a nd w e t r i e d

2    to get a phone number.                 H e s a i d i t w a s o n h i s p h o n e.         We asked

3    h i m i f w e c o u l d - - w e a s k e d h i m w h e r e t h e p h o n e w a s, a n d h e

4    said it was inside the trailer.                       We asked him if we could go

5    inside the trailer, and he said, yes.                            He was also wanting a

6    shirt and boots.             He didn't have a shirt on.                      I t w as s t i l l k i n d

7    of cold during that time, and he wanted a shirt and boots, and

8    t h e n t h e p h o n e s o t h a t w e c o u l d g e t t h e p h o n e n u m b er f r o m t h e

9    phone.

10   Q.      Okay.      So the man is outside, and he first asked you for

11   s o m e a r t i c l e s o f c l o t h i n g t h a t h e s a y s a r e s t i l l i ns i d e t h e

12   trailer; is that right?

13   A.      That's correct.

14   Q.      And you asked if you could retrieve the clothing from the

15   trailer?

16   A.      That's correct.

17   Q.      And he says yes?

18   A.      That's correct.

19   Q.      So one officer goes in and retrieves the clothing from the

20   trailer?

21   A.      That's correct.

22   Q.      All right.         A n d t h e n a r o u n d t h e s a m e t i m e , o r a li t t l e b i t

23   l a t e r , y o u ' r e a s k i n g h o w y o u c a n g e t i n c o n t a c t w i th h i s w i f e

24   or girlfriend?

25   A.      Right.       And -- go ahead; I'm sorry.


     USA v. Dunsworth                                                                           3-10-2020
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1    Q.      Well, no, you tell me.

2    A.      That's when we asked for his phone.                           H e s a i d , I ca n g e t

3    the phone number from my phone.                       We asked where the phone was,

4    and he said it was inside underneath a jacket or on the bed

5    somewhere.         We asked if we could go in and retrieve the phone

6    s o w e c a n g e t a h o l d o f s o m e b o d y t h a t c a n c o m e a n d ge t t h e R V .

7    Officer Chavez found the phone, handed it over to

8    Mr. Dunsworth, and that's when he gave us the phone number.

9    Q.      You just said Officer Chavez found the phone.                                  It was not

10   y o u w h o w e n t i n t o t h e t r a i l e r t o g e t e i t h e r t h e c l ot h i n g o r

11   find the phone; is that right?

12   A.      No.     N o , I d i d n ' t e v e n k n o w t h a t t h e r e w a s a n y t h in g l i k e

13   that in there.

14   Q.      You've already told us, I believe, that you never went

15   into the trailer.             D i d y o u h a v e a n y r e a s o n - - o r d id y o u

16   a c t u a l l y g o i n t o t h e t r a i l e r a t a n y p o i n t a f t e r t h is , a f t e r t h e

17   man was already under arrest?

18   A.      I don't think I went into the trailer after.                                 Not that I

19   recall, that I went into the trailer.

20   Q.      Okay.      A t t h i s p o i n t , n o w t h a t t h e m a n i s u n d e r ar r e s t ,

21   y o u s t i l l h a v e t o f i n d s o m e w a y t o m o v e t h i s v e h i c le , a n d

22   that's either going to be by finding another person to come

23   move it or to tow it?

24   A.      That's correct.

25                   MR. OUTLER:          Your Honor, at this point I'd like to


     USA v. Dunsworth                                                                           3-10-2020
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1    play portions of the video from Officer Montoya.

2            (Whereupon Officer Montoya's Lapel Video played)

3                    MR. OUTLER:           Your Honor, I'll stop the video there.

4    T h e C o u r t w i l l h a v e a n o p p o r t u n i t y t o s e e t h e v i d e os f r o m

5    Officer Chavez, who is standing next to the trailer at this

6    point, and Officer Foster.                    T h e a u d i o o n O f f i c e r F os t e r ' s l a p e l

7    camera video is much clearer.                      Y o u c a n h e a r t h e c o nv e r s a t i o n

8    between Officer Foster and the Defendant.                              And then Officer

9    C h a v e z ' s v i d e o s h o w s y o u l a t e r h i s e n t r y i n t o t h e tr a i l e r t o

10   retrieve the clothing, and then later the phone.

11   BY MR. OUTLER:

12   Q.      O f f i c e r M o n t o y a , h a v i n g s e e n t h i s h e r e , c a n y o u co n f i r m

13   t h a t t h i s w a s t h e l a p e l v i d e o f r o m y o u r l a p e l c a m e ra ?

14   A.      That's correct, it is.

15                   MR. OUTLER:           Your Honor, at this point I'd move

16   a d m i s s i o n o f t h i s v i d e o , w h i c h h a s a l r e a d y b e e n m a rk e d I

17   believe as Exhibit 3 to the Motion and submit it to the Court.

18                   THE COURT:          Any objection?

19                   MS. RIVAS:          No, Your Honor.

20                   THE COURT:          It's admitted.

21           (Government Exhibit No. 3 admitted.)

22   BY MR. OUTLER:

23   Q.      Having watched this video, is there anything you want to

24   add or clarify from your testimony earlier?

25   A.      No, sir, there isn't.


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    Q.    Okay, thank you.

2                  MR. OUTLER:          Thank you, Your Honor.                   I'll pass the

3    witness.

4                  THE COURT:          Counsel may cross-examine.

5                  MS. RIVAS:          Thank you, Your Honor.

6                                       CROSS-EXAMINATION

7    BY MS. RIVAS:

8    Q.    Good morning.

9    A.    Good morning.

10   Q.    Y o u j u s t t e s t i f i e d t h a t t o w i n g t h e v e h i c l e w a s m os t

11   likely, in your words?

12   A.    Yes, ma'am, I did.

13   Q.    In fact, in this case, the trailer was not towed?

14   A.    No.

15   Q.    Y o u h a d n o p e r s o n a l k n o w l e d g e h o w l o n g t h a t t r a i le r h a d

16   been there?

17   A.    Only from what was indicated by the caller.

18   Q.    So you had no personal knowledge how long it had been

19   there?

20   A.    No, no.

21   Q.    Y o u s a i d t h a t y o u - - y o u j u s t t e s t i f i e d t h a t a n in v e n t o r y

22   search was mandatory.              B u t t h e r e w a s n o t o n e d o n e he r e ?

23   A.    No, because --

24   Q.    Thank you.

25         We just observed the video.                     Y o u s a i d t h a t y o u b e l ie v e d


     USA v. Dunsworth                                                                         3-10-2020
     3-10-2020                       M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    that Mr. Dunsworth produced an identification card?

2    A.      I thought -- that's my memory of it.                           I t h o u g h t he d i d

3    produce an ID card.

4    Q.      So viewing the video, is that still correct?

5    A.      I think so.          I think an ID was produced later.

6    Q.      When?

7    A.      I think after he retrieved more items.                             T h a t ' s j us t m y

8    memory of it.           T h e r e w a s a n I D t h a t w a s p r o d u c e d l at e r o n .

9    Q.      You indicated that you would have to tow it until you

10   could find the owner.

11   A.      That's correct.            O r a r e s p o n s i b l e p e r s o n t h a t t h is

12   individual would allow to come and pick it up.

13   Q.      W h e n - - a n d p e r h a p s w e n e e d t o p l a y a f e w m o r e m in u t e s o n

14   t h i s v i d e o , b u t w h e n M r . D u n s w o r t h a s k e d f o r a s h i rt , y o u r

15   response is:          "My partner can get it for you"?

16   A.      That's correct.

17   Q.      It wasn't -- he never said, yes?

18   A.      I asked him permission, for his permission to go in and

19   get his shirt and boots, and he gave us permission.

20   Q.      S o r e g a r d i n g h i s s h i r t , h e d i d n ' t u s e t h e w o r d " ye s " ?

21   A.      I don't know exactly what the words were.

22   Q.      Y o u j u s t t e s t i f i e d t h a t h e d e s c r i b e d t h a t h i s p h on e w a s i n

23   his jacket?

24   A.      No, not in his jacket, near it or underneath his jacket.

25   I don't recall.


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1    Q.    Did you hear that on this video?

2    A.    I don't recall.           We'd have to play it.

3    Q.    Play it a little bit longer?                     D i d h e d e s c r i b e w h at t h e

4    jacket looked like?

5    A.    I don't recall if he did describe it.

6    Q.    And did he describe where it was?

7    A.    I t h i n k h e s a i d i t w a s o n t h e b e d , o r n e a r t h e b ed .            That

8    conversation, I think, was more with Officer Chavez than it was

9    with me.

10   Q.    When you approached the trailer, you didn't see

11   Mr. Dunsworth outside the trailer?

12   A.    No, ma'am, I did not.

13   Q.    A n d w e j u s t s a w t h e v i d e o a n d y o u c o u l d n ' t s e e i ns i d e t h e

14   windows of the trailer?

15   A.    No, ma'am, you couldn't.

16   Q.    I ' d l i k e t o s h o w w h a t y o u w e w o u l d l i k e t o m a r k as

17   Exhibits B, C and D.            A n d w e h a v e c o p i e s f o r t h e c ou r t a n d f o r

18   opposing counsel.

19                MS. RIVAS:         May I approach, Your Honor?

20                THE COURT:         Sure.

21   BY MS. RIVAS:

22   Q.    I'm going to hand you three pictures.

23         Have you had a chance to look at them?

24   A.    Yes.

25   Q.    Do those -- to your memory, is that what you saw that


     USA v. Dunsworth                                                                        3-10-2020
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1    morning?

2    A.    Yes, it looks like it.

3    Q.    And it shows there that you could not see through the

4    windows?

5    A.    That's correct.

6                  THE COURT:         Are you offering these?

7                  MS. RIVAS:         Your Honor, yes.              We'd ask that they be

8    admitted into evident.

9                  THE COURT:         Any objection?

10                 MR. OUTLER:         No objection.

11                 THE COURT:         They will be admitted as Exhibits B, C

12   and D for purposes of this hearing.

13                 MS. RIVAS:         Thank you.

14         (Defense Exhibits No. B, C and D admitted.)

15   BY MS. RIVAS:

16   Q.    W h e n y o u a p p r o a c h e d t h e t r a i l e r - - l e t ' s t a k e a lo o k a t

17   Exhibits C and D.           That door was closed?

18   A.    No, you can see that it -- like in C, both C and D, you

19   can see that it's ajar.

20   Q.    Can you see through that?                  Is there a gap?

21   A.    No, there's no gap.              B u t y o u s a i d t h a t t h e d o o r wa s

22   closed.

23   Q.    Closed.

24   A.    Okay, it's not locked, but it's -- it's ajar.

25   Q.    So that door to you is ajar?


     USA v. Dunsworth                                                                        3-10-2020
     3-10-2020                      M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      Yes.      I c a n n o t s e e i n t o t h e t r a i l e r , b u t i t ' s o p en .           It's

2    ajar.

3    Q.      W h e n y o u o p e n e d t h e d o o r t o t h e t r a i l e r , y o u d i d n' t h a v e a

4    search warrant?

5    A.      No, ma'am, I did not.

6    Q.      A n d t h e b e n c h w a r r a n t w a s n ' t d i s c o v e r e d u n t i l O f fi c e r

7    Foster asked Mr. Dunsworth for his identifiers?

8    A.      I think that's correct.

9    Q.      You did ask Mr. Dunsworth to step out?                              You asked him to

10   step out, sir?

11   A.      That's correct.

12   Q.      B u t b e f o r e h e s t e p p e d o u t , h e a s k e d y o u p e r m i s s i on t o p u t

13   on his pants?

14   A.      I think that's -- yeah, I think I heard it in the video

15   now.     I t h i n k h e d i d a s k t o p u t o n s o m e c l o t h e s , y ea h .

16   Q.      A n d h e o n l y b e g a n t o p u t o n h i s p a n t s a f t e r y o u ga v e h i m

17   permission?

18   A.      After I gave him permission, okay, yes.

19   Q.      He stepped outside, and he didn't have shoes with him?

20   A.      No, ma'am.

21   Q.      And he didn't have shoes on?

22   A.      No, he didn't have shoes on.

23   Q.      He didn't have a shirt on?

24   A.      That's correct.

25   Q.      A n d y o u n e v e r g a v e M r . D u n s w o r t h a M i r a n d a w a r n i ng ?


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.     Not that I recall, ma'am.

2    Q.     B u t y o u s t a r t e d a s k i n g h i m a b o u t h i s b r u i s e s o n hi s

3    stomach?

4    A.     I just -- yes.           Yes, I did.

5    Q.     There were three officers there that day?

6    A.     Yes, ma'am.

7    Q.     I n f a c t , M r . D u n s w o r t h a s k e d y o u , i n h i s w o r d s , "W h y d i d

8    you come all strong"?

9    A.     I don't recall that, ma'am.

10   Q.     H e a s k e d w h y t h e r e w a s t h r e e o f y o u t h e r e t h a t d ay ?

11   A.     I don't recall that.               B u t l i k e I e x p l a i n e d , O f f i ce r F o s t e r

12   a n d I w e r e i n - - h e w a s i n t r a i n i n g a n d I w a s h i s Fi e l d

13   Training Officer.            That was the only reason.                     Or we would have

14   gone with just two officers.

15   Q.     But there were three of you there that day?

16   A.     That's correct, ma'am.

17   Q.     And you were standing around him?

18   A.     Yes, ma'am.

19   Q.     Officer Chavez was by the door of the trailer?

20   A.     Yes, ma'am.

21   Q.     And you were behind him?

22   A.     Behind who?

23   Q.     Behind Mr. Dunsworth.                Y o u w e r e s t a n d i n g b e h i n d hi m ?

24   A.     At what point?

25   Q.     You were standing south on the sidewalk?


     USA v. Dunsworth                                                                         3-10-2020
     3-10-2020                       M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      Yes.

2    Q.      Behind Mr. Dunsworth?

3    A.      Yes, ma'am.

4    Q.      And Officer Foster was standing in front of him?

5    A.      Standing on the street parallel with me.

6    Q.      When Officer Chavez is asking Mr. Dunsworth about the

7    l o c a t i o n o f t h e p h o n e , O f f i c e r F o s t e r i s h a n d c u f f i ng h i m ?

8    A.      I d o n ' t k n o w a t w h a t p o i n t t h o s e t w o e v e n t s h a p p en e d .

9    Q.      D o y o u r e m e m b e r t h e s e r i e s o f q u e s t i o n s t h a t O f f ic e r

10   Chavez asked him?

11   A.      I do not, ma'am.

12   Q.      Y o u d o n ' t r e m e m b e r t h a t h e a s k e d h i m , i n q u i c k s eq u e n c e ,

13   "Is it in the nightstand"?

14   A.      I don't recall that.

15   Q.      "Is it on the floor"?

16   A.      I don't recall that.

17   Q.      "Is it in a backpack"?

18   A.      I don't recall that.

19   Q.      "She wouldn't have the phone"?

20   A.      I don't recall that.

21   Q.      "She has her own phone"?

22   A.      I ' d b e p u s h i n g i t i f I s a i d - - I d o n ' t r e c a l l t h at ,

23   either.

24   Q.      And you'd never met Mr. Dunsworth, so you didn't know what

25   he looked like?


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      No, ma'am.

2    Q.      You didn't know if anyone was in the trailer?

3    A.      No, I didn't.            H e s a i d t h a t h i s w i f e w a s i n t h e tr a i l e r ,

4    but then said maybe she went to the store.                               B u t I st i l l d i d n ' t

5    know if anybody else was in there.

6                    MS. RIVAS:          Your Honor, if I could have a minute.

7                    THE COURT:          Certainly.

8    BY MS. RIVAS:

9    Q.      Officer, I'm going to present to you what we have

10   s u b m i t t e d a s E x h i b i t A , a n d o p p o s i n g c o u n s e l a n d t he C o u r t

11   should have a copy.

12                   MS. RIVAS:          If I may approach.

13                   THE COURT:          You may.

14   BY MS. RIVAS:

15   Q.      Is that the warrant that caused Mr. Dunsworth to be

16   arrested that day?

17   A.      I would assume it is.                 Daniel Dunsworth.               I would have to

18   assume it was.            I t h i n k i t w a s a m i s d e m e a n o r w a r r a nt - - y e a h ,

19   traffic.        I would think it is.

20   Q.      So that warrant was from a traffic ticket?

21   A.      That's correct.

22   Q.      So a traffic ticket, and he failed to show up to court?

23   A.      I wouldn't know.              Oh, you mean on this one?                    T h a t' s w h a t

24   created this warrant?

25   Q.      Yes.


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      Does it have FTA?              Y e a h , i t w o u l d b e , m o s t l i k e l y, y e a h .

2    Q.      A n d y o u d o n ' t k n o w - - m o s t l i k e l y i f i t ' s t r a f f i c, h e

3    wouldn't have been arrested when those tickets were issued?

4    A.      When the tickets were issued themselves?

5    Q.      Yes.

6    A.      No, you just issue a ticket.

7    Q.      Okay.      A n d t h a t w a r r a n t d e s c r i b e s D a n i e l D u n s w o r th a s

8    being 5'9", brown eyes, 180 pounds, born in 1959?

9    A.      Yes, ma'am.

10   Q.      That could be a lot of people?

11   A.      It could be a lot of people, yeah.                          Just by those minimal

12   descriptors, yeah, it could be.

13   Q.      A n d w h e n y o u a p p r o a c h e d , y o u d i d n ' t f i n d M r . D u n sw o r t h

14   driving the vehicle?

15   A.      No, ma'am.

16   Q.      Y o u h a d t h e o p t i o n o f j u s t c i t i n g t h e v e h i c l e , y ou

17   t e s t i f i e d e a r l i e r , a n d j u s t p l a c i n g a r e d t a g o n t he v e h i c l e - -

18   A.      Yes.

19   Q.      -- if you didn't find a driver?

20   A.      Yes.      B u t l i k e I s a i d , i n t h e S o u t h e a s t , t h i s h a pp e n s

21   quite a bit, and the Southeast Area Command wanted us to get

22   these individuals moving.                   A l o t o f t h e t i m e s w e f in d d r u g

23   activity going on inside these RVs that are parked with

24   individuals.           So businesses complain, and they want us to get

25   them moving, get them going.


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    Q.      But that was an option available to you, to just red tag

2    it?

3    A.      Yes, that could have been an option.                            B u t t h e r e as o n I

4    d i d n ' t d o i t i n t h i s c a s e i s b e c a u s e t h e c a l l e r s t at e d t h a t i t

5    had been there for a while, and by the looks of the motorcycle

6    a n d t h e l a d d e r t h e r e , t h i s i n d i v i d u a l , i t l o o k e d l ik e h e h a d

7    set up camp.

8    Q.      But you had no personal knowledge how long he had been

9    there?

10   A.      No, ma'am, I did not.

11   Q.      You don't know Sharon Dunsworth, Mr. Dunsworth's wife?

12   A.      No, ma'am.          N o , I d o n ' t h a v e a n y p e r s o n a l - - I d on ' t k n o w

13   her personally.

14   Q.      You don't know how long she had been gone?

15   A.      No, ma'am.

16   Q.      Or if she was on her way back?

17   A.      No.     W h a t w e e n d e d u p d o i n g i s t a k i n g M r . D u n s w o rt h t o

18   jail --

19   Q.      Thank you, Officer.

20           So you didn't know if she was on her way back?

21   A.      No, ma'am.

22   Q.      Thank you.          I n f a c t , b e t w e e n t h e o f f i c e r s , y o u a ls o

23   d i s c u s s e d m a y b e s e e k i n g M r . D u n s w o r t h ' s s i s t e r t o ma y b e p i c k u p

24   the trailer?

25   A.      I don't recall that.


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    Q.    And in this case, the trailer was not towed?

2    A.    No, ma'am.         But there was a reason.

3    Q.    And no inventory search?

4    A.    No, ma'am, not that I know of.

5                  MS. RIVAS:         Thank you.

6                  THE COURT:         Is there redirect?

7                  MR. OUTLER:          Briefly, Your Honor.                  Thank you.

8                                    REDIRECT EXAMINATION

9    BY MR. OUTLER:

10   Q.    Officer Montoya, why was the vehicle not towed?

11   A.    B e c a u s e - - s o , w e t o o k M r . D u n s w o r t h t o t h e S o u t he a s t

12   Substation for processing before we go to jail.                                 We left

13   Officer Chavez in charge of the scene.                          M r . D u n s w o rt h g a v e u s a

14   phone number, and Officer Chavez was trying to make the phone

15   calls.    I think he got a voice mail.                       But later it was found

16   out, we did get ahold of somebody and they did come down to the

17   scene.

18   Q.    All right.         I f O f f i c e r C h a v e z h a d n o t b e e n a b l e to g e t i n

19   touch with the girlfriend or wife, or anybody else to come move

20   the vehicle, what would have happened?

21   A.    Y e a h , b e f o r e w e l e f t , I s a i d , i f y o u c a n ' t g e t a ho l d o f

22   anybody, Charles, we're going to have to tow it.

23   Q.    A n d i f y o u h a d t o w e d i t , y o u w o u l d h a v e d o n e a n in v e n t o r y

24   search?

25   A.    That's correct, sir.


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1    Q.     When you opened the door to that trailer, did you see a

2    firearm?

3    A.     No.     No, sir.

4    Q.     Did you retrieve anything from the trailer?

5    A.     No, sir.

6    Q.     So the only thing of significance you saw was

7    Mr. Dunsworth, himself?

8    A.     Yeah.     And that's when I asked him to step out.

9                   MR. OUTLER:      Thank you.           That's all I have, Your

10   Honor.

11                  THE COURT:     May the witness be excused?

12                  MS. RIVAS:     Yes, Your Honor.

13                  THE COURT:     Thank you.           You're free to leave, sir.

14                  THE WITNESS:       Thank you, Your Honor.

15                  MR. OUTLER:      Your Honor, may Officer Montoya remain

16   in the courtroom while the other officers testify?

17                  THE COURT:     Yes.       If he's concluded his testimony, he

18   may.

19                  MR. OUTLER:      Thank you.

20                  THE COURT:     Who is the next witness?

21                  MR. OUTLER:      Next, the United States calls Officer

22   Charles Chavez.

23                  MR. GARCIA:      Good morning, sir.                Please raise your

24   right hand.

25                  (CHARLES CHAVEZ, GOVERNMENT WITNESS, SWORN)


     USA v. Dunsworth                                                                      3-10-2020
     3-10-2020                    M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1                    MR. GARCIA:            Please have a seat and state your full

2    name for the record.

3                    THE WITNESS:            My name is Charles Chavez, retired

4    Albuquerque Police Officer.

5                    THE COURT:           You may proceed.

6                                          DIRECT EXAMINATION

7    BY MR. OUTLER:

8    Q.      O f f i c e r , o r f o r m e r O f f i c e r C h a v e z , o n J u n e 2 5 , 2 01 8 , w e r e

9    y o u s t i l l e m p l o y e d a s a n A l b u q u e r q u e p o l i c e o f f i c e r?

10   A.      Yes.      Y e s , I w a s a f u l l - t i m e A l b u q u e r q u e p o l i c e of f i c e r i n

11   uniform driving a marked police car.

12   Q.      All right.          A t t h a t t i m e , h o w l o n g h a d y o u b e e n an o f f i c e r

13   with APD?

14   A.      Y o u s a i d - - I t h i n k a b o u t 1 8 y e a r s , b e c a u s e i t w as 2 0 1 8 ,

15   and I started in 2000.

16   Q.      And when did you retire?

17   A.      About a year ago last March.                       S o 2 0 1 9 , M a r c h o f 20 1 9 .

18   Q.      All right.          W e a r e t a l k i n g a b o u t t h e i n c i d e n t t h at

19   happened with the Defendant on June 25, 2018.                                  Were you present

20   at that scene?

21   A.      Yes.

22   Q.      Why were you there?

23   A.      I w a s r e s p o n d i n g t o a d i s p a t c h e d c a l l f o r s e r v i c e.      It was

24   dispatched through our computer.                         I can't remember if it was

25   dispatched over radio, but I know it was dispatched at least by


     USA v. Dunsworth                                                                            3-10-2020
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1    computer to us.

2    Q.      S o y o u r e c e i v e d a c a l l d i r e c t l y , o r w e r e y o u t h e re j u s t a s

3    backup?

4    A.      Two officers or police cars were dispatched, and my role

5    was assigned as a backup officer.                          W h e n t h e d i s p a t ch o c c u r s ,

6    they assign one as a backup and one as the primary

7    report-writing officer.

8    Q.      Okay.       W h o w a s t h e p r i m a r y r e p o r t - w r i t i n g o f f i c e r?

9    A.      I believe it was Officer Zak, or Zakkery Foster.

10   Q.      Who was the other officer there?

11   A.      O f f i c e r J o h n M o n t o y a w a s w i t h O f f i c e r F o s t e r i n th e s a m e

12   vehicle.

13   Q.      All right.           W h e n y o u a r r i v e d a t t h e s c e n e , w h a t di d y o u

14   see?

15   A.      I d i d s e e o n V i r g i n i a , S . E . , V i r g i n i a S t r e e t , I di d s e e a

16   camper attached to a vehicle, just as described in the

17   d i s p a t c h , a n d I a l s o s a w a m o t o r c y c l e o n t h e s i d e w al k .         The

18   v e h i c l e s w e r e b o t h f a c i n g n o r t h b o u n d a t a b o u t t h e ap p r o x i m a t e

19   a d d r e s s t h a t w a s o n t h e d i s p a t c h , a n d I v i e w e d i t fr o m b e h i n d ,

20   so I was also facing northbound.

21   Q.      W e ' v e h e a r d f r o m O f f i c e r M o n t o y a g e n e r a l l y d e s c r ib i n g w h a t

22   officers saw and the contact with the Defendant.                                     Di d y o u

23   ultimately -- did you go into this trailer?

24   A.      D u r i n g t h e c o u r s e o f t h e i n v e s t i g a t i o n o f t h e c a ll , I d i d

25   enter the trailer at some point, yes.


     USA v. Dunsworth                                                                            3-10-2020
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1    Q.     Okay, let's talk about that.                      What reason did you have to

2    go into the trailer initially?

3    A.     Initially, the subject that we were dealing with had asked

4    f o r h i s s h i r t , a n d t h e o t h e r o f f i c e r s a n d I s a i d , "O k a y , s o y o u

5    want us to get your shirt from inside the trailer?"                                     So I

6    stepped in to get his shirt.                    While I was in there, just a step

7    or two in, I can't remember if it was the Defendant or if it

8    w a s o n e o f t h e o t h e r o f f i c e r s w h o s a i d , c a n y o u a l so g e t t h e

9    boots for him.

10   Q.     S o w h e n y o u a s k e d , " D o y o u w a n t u s t o g e t y o u r s hi r t f o r

11   you," do you remember what the man said?

12   A.     I remember he did say, "Yes."

13   Q.     Okay.       S o y o u w e n t i n i t i a l l y i n s i d e t o g e t a s h i rt a n d

14   then shortly thereafter boots?

15   A.     Yes.      W h i l e i n t h e r e , I p i c k e d u p a s h i r t a n d I al s o

16   brought boots out.             I w a s i n t h e r e j u s t m o m e n t a r i l y.

17   Q.     A p p r o x i m a t e l y h o w l o n g w e r e y o u i n t h e r e t o g e t th e s h i r t

18   and boots?

19   A.     Possibly less than 20 seconds.                       Approximately.

20   Q.     A f t e r y o u h a d t h e b o o t s a n d s h i r t i n h a n d , w h a t di d y o u

21   do?

22   A.     W a l k e d r i g h t b a c k o u t o f t h e t r a i l e r a n d e i t h e r ha n d e d t o

23   h i m o r s e t t h e m o n t h e g r o u n d n e x t t o t h e D e f e n d a n t.

24   Q.     Okay.       Did you ever enter the trailer again?

25   A.     Yes.


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1    Q.      Why was that?

2    A.      I can't remember the amount of minutes, if it was a span

3    of a few minutes later, but it was determined that this

4    Defendant was going to be placed under arrest, and as the

5    a s s i s t i n g o f f i c e r - - w e w e r e t r y i n g t o s e e i f w e c ou l d t u r n

6    p o s s e s s i o n o f t h e v e h i c l e a n d c a m p e r t h a t w a s c o n n ec t e d t o t h e

7    v e h i c l e , t h e t r a i l e r , o v e r t o s o m e o n e w i t h t h e D e f en d a n t ' s

8    permission, and he said we could turn that over to his wife.

9    We asked, "Can we call your wife?"                           And he did not know her

10   number.        S o h e t o l d u s , " H e r n u m b e r i s i n m y p h o n e ," w h i c h i s

11   back inside the camper and the trailer, and I said, "Can I get

12   your phone out of the camper and then we'll be able to get her

13   number to call?"              And he said, "Yes."                 And he tried to describe

14   to me where his phone would be inside the trailer.

15   Q.      Okay.       What did you then do?

16   A.      I t h e n s t e p p e d i n t o t r y t o l o o k f o r t h e t e l e p h o ne i n t h e

17   areas he told me.               He said it would be on the bed, he said it

18   might be on the nightstand.                      I n i t i a l l y , i t w a s n ' t se e n r i g h t

19   there in plain sight.

20   Q.      You didn't see anything where he had described it might

21   be?

22   A.      Correct.

23   Q.      Okay.       What did you do?

24   A.      I stepped back out of the trailer.                           I t w a s a l s o at a b o u t

25   t h a t m o m e n t t h a t , u n d e r s t a n d i n g f r o m O f f i c e r F o s t e r, t h a t h e


     USA v. Dunsworth                                                                            3-10-2020
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1    was going to place the handcuffs on the Defendant, so I stepped

2    o u t t o g e t m y s e l f o n t h e g r o u n d i n c a s e a n y a s s i s t an c e w o u l d b e

3    necessary.         A t a b o u t t h e s a m e t i m e , I w a s a l s o t r y in g t o

4    clarify if the phone could be anywhere else, and he said, "No,

5    i t s h o u l d b e t h e r e o n t h e b e d , " o r l i k e I s a i d , m a yb e t h e

6    nightstand.          S o i t s h o u l d b e i n t h a t g e n e r a l b e d a re a .         And the

7    b e d a r e a i s i m m e d i a t e l y n e x t t o t h e d o o r t h a t I e n te r e d

8    through.

9    Q.      When you say you were trying to clarify, you were asking

10   him, again, where the phone was?

11   A.      Yes.

12   Q.      A n d h e , a g a i n , t o l d y o u t h e s a m e t h i n g , w h i c h w a s?

13   A.      That it should be in that area by the bed, or not far from

14   the bed.

15   Q.      All right.         So what did you do?

16   A.      A s I s t e p p e d b a c k i n , r i g h t t h e r e a t t h e b e d , w h ic h i s

17   r i g h t b y t h e d o o r , I m o v e d t h e s h e e t s o r b l a n k e t a nd I d i d s e e

18   a jacket.        I lifted the jacket up and I immediately see the

19   phone in the interior jacket pocket.

20   Q.      W h e n y o u s a w t h e p h o n e i n t h e i n t e r i o r j a c k e t p o ck e t , d i d

21   you see anything else?

22   A.      Yes.     A s I p i c k e d u p t h e j a c k e t , u n d e r t h e j a c k e t, n o t i n

23   a p o c k e t , b u t u n d e r t h e j a c k e t I s e e w h a t I r e c o g n iz e t o b e a

24   firearm.        It looked to be a dark color.                       F r o m m y t ra i n i n g a n d

25   e x p e r i e n c e , I r e c o g n i z e d t h a t a s a h a n d g u n , a l s o k no w n a s a


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1    possible pistol.

2    Q.      Did you retrieve that firearm?

3    A.      No.     I retrieved the telephone and put the jacket back

4    d o w n , a n d w e n t o u t t o a s k h o w t o g e t t h e p h o n e n u m be r o u t .

5    Q.      W a s t h e f i r e a r m o f a n y s i g n i f i c a n c e t o y o u a t t h at p o i n t ?

6    A.      No.     I was trying to get the phone number out.

7    Q.      Okay.      So you took the phone back outside.                            What did you

8    do?

9    A.      W e w e r e t r y i n g t o - - a f t e r w e r e t r i e v e d t h e n u m b er , I

10   tried calling his wife many times.                         H e s h o w e d m e w he r e t h e

11   number was.          I tried dialing many times.                      I k n o w i ni t i a l l y I

12   was not getting an answer.                    I c a n ' t r e m e m b e r t h e s pa n o f t i m e

13   going by, but it was going to get to a point where the other

14   o f f i c e r s n e e d e d t o l e a v e t o g o p r o c e s s p a p e r w o r k f or t h a t

15   arrest.        W h e n s o m e o n e i s a r r e s t e d , w e n e e d t o s e c u re t h e i r

16   vehicle, most likely with a tow company, and I was directed,

17   t h e n , b y t h e o t h e r o f f i c e r s t o s t a y t h e r e a n d s e e if I c o u l d

18   get ahold of the wife maybe in a few more minutes, or if not,

19   then I would have to start the tow truck.                              And the odds were

20   very high, since I wasn't getting ahold of someone in a few

21   minutes, to start a tow.

22   Q.      S o O f f i c e r M o n t o y a a n d O f f i c e r F o s t e r l e f t w i t h th e

23   D e f e n d a n t a f t e r h e h a d b e e n p l a c e d u n d e r a r r e s t , b ut y o u s t a y e d

24   on the scene, correct?

25   A.      Yes.


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    Q.      And your purpose there was to?

2    A.      Turn over the vehicle either to a tow company or to the

3    w i f e , w h i c h w e w e r e g i v e n p e r m i s s i o n b y t h e D e f e n d an t .

4    Q.      Okay.       If you had never been in contact with the wife or

5    a n y b o d y e l s e t o c o m e m o v e t h e v e h i c l e , w h a t w o u l d ha v e

6    happened?

7    A.      We would have towed the vehicle and the connected trailer.

8    Q.      I f y o u h a d h a d t o t o w t h e v e h i c l e , w h a t p r o c e s s wo u l d y o u

9    have had to follow before that?

10   A.      O u r p r o c e d u r e s w i t h o u r a g e n c y a r e t o d o a n i n v e nt o r y

11   s e a r c h , a n d w e a r e t o s e c u r e c e r t a i n t h i n g s , t o i n cl u d e

12   f i r e a r m s , i n a t o w s e a r c h , t o w i n v e n t o r y s e a r c h , f or

13   safekeeping.           T h a t w a y t h e y a r e s e c u r e d i n t h e p o l ic e

14   d e p a r t m e n t f o r s a f e k e e p i n g r a t h e r t h a n j u s t b e i n g in a t o w

15   yard.

16   Q.      W o u l d a n i n v e n t o r y s e a r c h i n c l u d e t h i n g s l i k e l o ok i n g i n

17   c l o t h i n g a n d s e c u r i n g c l o t h i n g t h a t w a s o n a b e d i ns i d e t h e

18   trailer?

19   A.      Yes.      I n v e n t o r y s e a r c h e s a r e v e r y - - w e t r y t o m ak e a v e r y

20   detailed list.

21   Q.      Okay.       In your training and experience, would you have

22   located that firearm during an inventory search?

23   A.      Yes.

24                   MR. OUTLER:           Your Honor, at this point I'd like to

25   p l a y t h e p o r t i o n s o f t h e l a p e l v i d e o f r o m O f f i c e r Ch a v e z .


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1                    THE COURT:          Okay, you may proceed.

2            (Whereupon Officer Chavez's Lapel Video played)

3    BY MR. OUTLER:

4    Q.      O f f i c e r C h a v e z , h a v i n g v i e w e d t h a t , c a n y o u c o n f ir m f o r

5    the Court that that is, in fact, your lapel video?

6    A.      Yes, that was my lapel video.

7                    MR. OUTLER:           I move admission of Officer Chavez's

8    lapel video.

9                    THE COURT:          Any objection?

10                   MS. RIVAS:          No, Your Honor.

11                   THE COURT:          It's admitted.

12           (Government Exhibit No. 5 admitted.)

13   BY MR. OUTLER:

14   Q.      Officer Chavez, did we watch the portions of your video

15   that captured all of your entries into the trailer and your

16   conversations with the man who was there?

17   A.      Yes.      I f t h e r e w a s a n y o t h e r e n t r y - - l i k e , I t h in k I w a s

18   handed an item to put back in.                       W e w e r e g o i n g t o l ea v e s o m e o f

19   h i s p r o p e r t y t h e r e t h a t m i g h t h a v e b e e n i n h i s p o c ke t s .     So I

20   c a n ' t r e m e m b e r - - t h e r e c o u l d h a v e b e e n a n o t h e r , l ik e , j u s t

21   placing those items back in or something.

22   Q.      Okay.      Having watched this, is there anything you want to

23   clarify or add to your testimony from before?

24   A.      No.     I t h i n k t h e v i d e o s h o w e d t h e s t u f f t h a t w e ' ve b e e n

25   talking about now.


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1    Q.      Okay, thank you.

2                     THE COURT:          Thank you, Your Honor.                    P a s s t h e w i t n e ss .

3                                           CROSS-EXAMINATION

4    BY MS. RIVAS:

5    Q.      Good morning.

6    A.      Good morning.

7    Q.      O f f i c e r , w h e n y o u a s k e d a b o u t t h e p h o n e - - w e j u st h e a r d

8    your voice on the video.                    Y o u a s k e d w h e t h e r h i s p h on e m i g h t b e

9    in the nightstand?

10   A.      Yes, I think I questioned, is it the nightstand, or asking

11   where it was, yes.

12   Q.      And you asked whether it was a black phone?

13   A.      Yes, I asked a description of it.

14   Q.      "Next to," and you didn't finish that sentence.

15   A.      There was a sentence I didn't finish?

16   Q.      Yes.      Do you remember that?

17   A.      That may be --

18   Q.      Do you remember not finishing that sentence?

19   A.      I think I remember seeing that on the video now.

20   Otherwise, I can't remember.                       W i t h o u t - - i f I w o u l dn ' t h a v e

21   w a t c h e d t h e v i d e o , I p r o b a b l y w o u l d n ' t h a v e r e m e m b er e d .

22   Q.      You asked whether it was in a backpack?

23   A.      I did ask that question.                     I j u s t s a w t h a t n o w , y es .

24   Q.      And whether she would have a phone?

25   A.      Yes, I asked that also on this video, if his wife may have


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1    had his phone, or if she had her own.

2    Q.      S o t h a t ' s - - I ' m c o u n t i n g a p p r o x i m a t e l y s i x q u e s ti o n s .

3    A.      That could be the count, yes.                        I haven't counted it

4    myself.        It may be.

5    Q.      A n d w h e n y o u a s k e d t h o s e q u e s t i o n s , O f f i c e r F o s t er w a s

6    handcuffing Mr. Dunsworth?

7    A.      I t l o o k e d t o b e a b o u t g o i n g o n a t t h e s a m e t i m e on t h e

8    video.

9    Q.      A n d t h e p h o n e w a s n ' t l o c a t e d i n a n y o f t h o s e p l a ce s t h a t

10   you asked about?

11   A.      Such as the nightstand, on the floor, or visibly on the

12   bed?

13   Q.      Yes.

14   A.      No.

15   Q.      Thank you.          W e a l s o h e a r d , r e g a r d i n g h i s w i f e , S ha r o n

16   D u n s w o r t h , h e t o l d y o u , o r h e t o l d t h e o f f i c e r s t h at s h e w o u l d

17   be right back?

18   A.      Yes.      H e e x p e c t e d h e r b a c k , a s f a r a s w e u n d e r s t oo d .

19   That's what he was telling us.

20   Q.      Y o u a l s o w e r e c u r i o u s a b o u t p o s s i b l y r e l e a s i n g t he t r a i l e r

21   to his sister who lived a few blocks away?

22   A.      I can't remember right now without hearing on the video.

23   I t d o e s s o u n d a l i t t l e f a m i l i a r , t h a t I t h i n k w e w er e

24   r e s e a r c h i n g o t h e r i d e a s o f h o w w e c o u l d g e t t h e t r ai l e r t o

25   someone that could take responsibility for it.


     USA v. Dunsworth                                                                            3-10-2020
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1    Q.    I f I p l a y e d t h a t f o r y o u , w o u l d t h a t m a y b e r e f r e sh y o u r

2    memory?

3    A.    If I'm asking him who I could release the trailer to?

4    Q.    Right.

5    A.    It may refresh my memory, yes.

6          (Whereupon Officer Chavez's Lapel Video played)

7    BY MS. RIVAS:

8    Q.    Does that refresh your memory?

9    A.    Yes.      I w a s t r y i n g t o d o r e s e a r c h t o s e e i f h e d id h a v e

10   other family that could possibly get the camper for him.

11   Q.    Thank you.          And in this case, the trailer was not towed?

12   A.    It was not towed, no.

13   Q.    And it was not inventoried?

14   A.    No.

15                 MS. RIVAS:          I have no other questions, Your Honor.

16                 THE COURT:          Is there redirect?

17                 MR. OUTLER:           Briefly, Your Honor.

18                                    REDIRECT EXAMINATION

19   BY MR. OUTLER:

20   Q.    O f f i c e r C h a v e z , y o u a l r e a d y a n s w e r e d t h a t w h e n y ou f i r s t

21   saw that firearm, you did not retrieve it; is that correct?

22   A.    Correct.

23   Q.    You left it where it was?

24   A.    Yes.

25   Q.    Eventually the firearm was retrieved, correct?


     USA v. Dunsworth                                                                         3-10-2020
     3-10-2020                       M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      Yes.

2    Q.      And why was that?

3    A.      W h e n t h e o t h e r o f f i c e r s w e r e g o i n g t o l e a v e t o t he p o l i c e

4    station with the Defendant, and we had already been on scene

5    quite a while and the wife still was not back, even though

6    there was a chance she was going to come back and I was going

7    t o g i v e i t a f e w m o r e a t t e m p t s w h i l e I w a i t e d , I w as p r o b a b l y

8    moments away from calling for a tow truck.                                 So as I said

9    e a r l i e r , o u r p r o c e d u r e t h e n i s t o s t a r t t o s e c u r e th i n g s .

10           As I said now, an inventory wasn't done, but I was

11   expecting to probably do one very soon since family had not

12   showed up yet and that firearm had to be secure.                                     An d t h e

13   primary officers were going to start that process.

14   Q.      I s i t s t a n d a r d p r o c e d u r e t o s e c u r e f i r e a r m s , p a r ti c u l a r l y

15   during an inventory procedure?

16   A.      Yes.      W h e n a v e h i c l e i s t o w e d , e v e n o n t r a f f i c s to p s o r

17   o t h e r s t o p s , i f a v e h i c l e i s g o i n g t o b e t o w e d a w a y, w e d o

18   s e c u r e f i r e a r m s r a t h e r t h a n l e t t i n g t h e m j u s t s i t in t h e

19   vehicle and go into the tow yard.

20   Q.      A t t h a t p o i n t , w a s t h e f i r e a r m e v i d e n c e o f a n y c ri m e i n

21   your mind?

22   A.      No.     It was going to be for safekeeping since the vehicle

23   was -- I thought I was moments away from starting a tow, and

24   then the family member showed up, or the wife.

25                   MR. OUTLER:            Thank you, Your Honor.                   That's all I


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1    have.

2                    THE COURT:          Are there any other questions of this

3    witness?

4                    MS. RIVAS:          Your Honor, if I may, quickly.

5                    THE COURT:          Sure.

6                                        RECROSS-EXAMINATION

7    BY MS. RIVAS:

8    Q.      Officer Chavez, you didn't have a discussion with Officer

9    Montoya that there was a gun in the vehicle?

10   A.      I w o u l d h a v e t o r e f r e s h m y m e m o r y o n t h a t , o n w h at w e

11   discussed.         I know on the video we just saw now, it did not

12   appear that that was discussed at that point, but I know later

13   on as they were about to leave for the substation, we

14   communicated that, because as I said, we were going to have to

15   m a k e t h a t s a f e w i t h t h e h i g h p o s s i b i l i t y o f a t o w tr u c k c o m i n g .

16   Q.      A n d d i d n ' t h e s a y , i t d e p e n d s o n h i s c r i m i n a l h i st o r y ?

17   Didn't you confirm his criminal history before Mr. Dunsworth

18   was taken to the substation?

19   A.      I c a n ' t r e m e m b e r a t w h a t p o i n t h i s c r i m i n a l h i s t or y w a s

20   confirmed, or to what detail.                      We know that he had a warrant

21   for his arrest, as a wanted person on scene there.                                     I can't

22   r e m e m b e r t o w h a t e x t e n t o t h e r r e s o u r c e s w e r e d o n e at t h e s c e n e .

23   Q.      D u r i n g y o u r r e c o r d i n g o f t h i s i n c i d e n t , d i d y o u ev e r s t o p

24   the audio?

25   A.      I can't remember right now.                     T h a t w o u l d h a v e t o be


     USA v. Dunsworth                                                                           3-10-2020
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1    researched through our video.                      M a y b e t h e v i d e o w o u ld s h o w t h a t .

2    I can't remember.

3    Q.      If you did, why would you stop the audio?

4    A.      S o m e t i m e s a u d i o i s s t o p p e d t o d i s c u s s t a c t i c s a m on g e a c h

5    other, with officers.                 T h a t w a y t h a t ' s n o t v i e w e d la t e r o n i n

6    court cases, to see police tactics.                          O r j u s t e v e n to h e a r

7    t a c t i c s i n f r o n t o f t h e D e f e n d a n t o r t h e s u b j e c t t ha t w e ' r e

8    dealing with.           S o s o m e t i m e s t h e a u d i o c a n b e s t o p p ed o n t h a t ,

9    e v e n t h o u g h y o u r a t t e m p t i s t o n o t l e t s o m e b o d y n e ar b y h e a r

10   your tactics.

11   Q.      Did you discuss tactics with any of the officers that day?

12   A.      I can't remember now.                 I d o r e m e m b e r d i s c u s s i n g so m e

13   tactics as we walked up.                   That refreshed myself, in the video,

14   a b o u t w h e r e w e w e r e g o i n g t o s t a n d a n d p o s i t i o n o u rs e l v e s o n

15   our approach.           O t h e r p a r t s I c a n ' t r e m e m b e r r i g h t no w .

16   Q.      I t h i n k t h a t s h o r t l y a f t e r t h i s , y o u t u r n e d o f f th e a u d i o .

17   May I play it for you?

18                   MR. OUTLER:           Your Honor, objection; relevance.                          W h at

19   difference does it make?

20                   MS. RIVAS:          Your Honor, the officer just testified

21   that basically he was going to retrieve the handgun as a

22   procedure and not as an investigation into a crime, and I think

23   t h a t t h e a u d i o w o u l d s h o w t h a t , i n f a c t , t h e g u n m os t l i k e l y

24   w a s r e t r i e v e d a s p a r t o f h i s i n v e s t i g a t i o n i n t o a cr i m e .

25                   THE COURT:          I'll allow it.             Go ahead.


     USA v. Dunsworth                                                                           3-10-2020
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1                    MS. RIVAS:          Thank you.

2            (Whereupon Officer Chavez's Lapel Video played)

3    BY MS. RIVAS:

4    Q.      Do you hear any audio?

5    A.      No, I don't hear audio.

6    Q.      Do you remember what you were discussing?

7    A.      No, I don't remember.

8                    MS. RIVAS:          I don't have any other questions, Your

9    Honor.

10                   MR. OUTLER:           Nothing further, Your Honor.                        T h a n k y ou .

11                   THE COURT:          L e t m e a s k , O f f i c e r C h a v e z , w e r e y o u t he

12   one who retrieved the handgun?

13                   THE WITNESS:            I would have to be reminded on the

14   video.       I c a n ' t r e m e m b e r a t t h i s p o i n t , w i t h o u t r e fr e s h i n g f r o m

15   t h e v i d e o , w h i c h o n e o f u s , t h e n , f i n a l l y d o e s r e t ri e v e i t t o

16   take it to the police station.                       I don't remember.

17                   THE COURT:          And that's fine.               T h e D e f e n d a n t w a s b e in g

18   placed in cuffs on misdemeanor warrants?

19                   THE WITNESS:            Yes, from my remembering.                     My memory is

20   he was under arrest for misdemeanor warrants.

21                   THE COURT:          At some point, if you know, and if you

22   d o n ' t , t h e n j u s t i n d i c a t e y o u d o n ' t , b u t a t s o m e p oi n t , d i d y o u

23   l e a r n t h a t t h e D e f e n d a n t h a d a p r i o r f e l o n y c o n v i c ti o n ?

24                   THE WITNESS:            A t s o m e p o i n t i n t h a t d a y , I d i d l e a rn

25   that.      I can't remember what time of the day I did.


     USA v. Dunsworth                                                                            3-10-2020
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1                    THE COURT:           Okay.      D o y o u k n o w w h e n y o u l e a r n e d t h at

2    i n f o r m a t i o n , w a s t h a t b e f o r e o r a f t e r t h e h a n d g u n wa s

3    retrieved?

4                    THE WITNESS:            It was later in the day.                    L i k e w e s a id ,

5    I know at the scene one of us retrieved it, because they were

6    going to take it -- they, as in the other officers or myself,

7    were going to place it in evidence as a safekeeping measure and

8    t h a t w a s t h e r e a s o n i t w a s r e t r i e v e d o u t o f t h a t c am p e r .

9                    THE COURT:           Again, what I'm getting at, and again, if

10   you don't know, but was the handgun retrieved as a safekeeping

11   m e a s u r e , o r w a s i t r e t r i e v e d b e c a u s e t h e p o l i c e o f fi c e r s

12   l e a r n e d t h a t t h e D e f e n d a n t h a d a p r i o r f e l o n y c o n v ic t i o n ?

13                   THE WITNESS:            I t w a s t a k e n a s a s a f e k e e p i n g m e a s u r e.

14   A t t h a t p o i n t o n t h e s c e n e , I k n o w w e d i d n ' t k n o w ab o u t a n y

15   felony convictions at that point.                          I don't know -- as I just

16   t e s t i f i e d n o w , o r m o m e n t s a g o , I d i d n ' t k n o w t h e e xt e n t o f h i s

17   c r i m i n a l h i s t o r y o n s c e n e , b u t I k n o w t h a t c o n f i r m at i o n o f t h a t

18   d i d c o m e l a t e r o n a t t h e p o l i c e s t a t i o n t h a t d a y , of h i s f e l o n y

19   record.

20                   THE COURT:           Okay.      Did defense counsel have any

21   questions in light of my questions?

22                   MS. RIVAS:           No, Your Honor.

23                   MR. OUTLER:           Nothing further, Your Honor.                         T h a n k y ou .

24                   THE COURT:           May the witness be excused?

25                   MR. OUTLER:           Yes.


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1                  THE COURT:         Y o u ' r e w e l c o m e t o l e a v e , o r i f y o u w a n t,

2    you can remain in the courtroom.

3                  THE WITNESS:           Thank you.

4                  THE COURT:         T h e G o v e r n m e n t m a y c a l l t h e n e x t w i t n e ss .

5                  MR. OUTLER:          Thank you, Your Honor.                   The final

6    witness is Officer Zakkery Foster.

7                  MR. GARCIA:          Good morning, sir.                Please raise your

8    right hand.

9                  (ZAKKERY FOSTER, GOVERNMENT WITNESS, SWORN)

10                 MR. GARCIA:          Please have a seat and state your full

11   name for the record.

12                 THE WITNESS:           Officer Zakkery Foster.

13                                     DIRECT EXAMINATION

14   BY MR. OUTLER:

15   Q.    Officer Foster, would you spell your first name, please?

16   A.    Z-a-k-k-e-r-y.

17   Q.    And Foster is F-o-s-t-e-r?

18   A.    Correct.

19   Q.    H o w l o n g h a v e y o u b e e n w i t h t h e A l b u q u e r q u e P o l i ce

20   Department?

21   A.    Approximately two years.

22   Q.    S o o n J u n e 2 5 , 2 0 1 8 , w a s t h a t s h o r t l y a f t e r y o u st a r t e d a s

23   an officer?

24   A.    Correct.

25   Q.    And you were on training that day, correct?


     USA v. Dunsworth                                                                         3-10-2020
     3-10-2020                       M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      On-the-job training, yes.

2    Q.      Sitting here today, do you remember your original contact

3    a n d e v e n t u a l a r r e s t o f a m a n n a m e d , o r w h o i d e n t i f ie d h i m s e l f

4    as Daniel Dunsworth?

5    A.      Correct, yes.

6    Q.      Y o u w e r e , i n f a c t , t h e a r r e s t i n g o f f i c e r t h a t d a y?

7    A.      Yes, I was.

8    Q.      All right.          D e s c r i b e t o u s w h y y o u w e n t t o t h a t pa r t i c u l a r

9    scene.

10   A.      I t w a s a c a l l f o r s e r v i c e a b o u t a n R V p a r k e d i n fr o n t o f

11   o n e o f t h e b u s i n e s s e s o u t o n t h e s t r e e t , a n d t h e y ju s t

12   requested that we have it removed.

13   Q.      Okay.      A n d w h y w o u l d i t b e i m p o r t a n t t o r e m o v e t ha t k i n d

14   of vehicle?

15   A.      A t t h e t i m e , i t j u s t s e e m e d l i k e i t w a s a n u i s a n ce t o t h e

16   business.         That's the information we had gotten on the call.

17   Until I got there, that's the information I had.

18   Q.      Okay.      When you arrived, what did you see?

19   A.      I saw an RV parked on I believe the east side of, I'm not

20   s u r e o f t h e s t r e e t n a m e , w i t h a m o t o r c y c l e p a r k e d an d b l o c k i n g

21   the sidewalk along with, I think, a ladder.                                We had checked the

22   information on the RV, and the registered owner of the RV

23   possibly had a warrant.

24   Q.      Do you remember the name of the registered owner?

25   A.      Daniel Dunsworth.


     USA v. Dunsworth                                                                           3-10-2020
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1    Q.      S o a t t h i s p o i n t , y o u ' v e s e e n t h e R V p a r k e d o n t he s t r e e t ,

2    y o u ' v e r u n t h e p l a t e , a n d t h e r e g i s t r a t i o n c o m e s b ac k t o D a n i e l

3    Dunsworth?

4    A.      Correct.

5    Q.      And you note from your research that a man named Daniel

6    Dunsworth has warrants outstanding?

7    A.      Yes.

8    Q.      What did you do?

9    A.      We then decided to walk up to the RV and attempt to

10   contact possibly, if there's someone in it, for the fact that

11   there was a high possibility that we were going to end up

12   towing the vehicle.

13   Q.      And why is that?

14   A.      Due to the legality of it.                      It had the motorcycle impeding

15   t h e s i d e w a l k , a s w e l l a s w e w e r e a b l e t o - - I b e l i ev e i t h a d a

16   b u n c h o f c a l l h i s t o r y p r e v i o u s l y t h r o u g h o u r d e p a r tm e n t a l o n e

17   in the area, and it's a common problem in the area that there's

18   abandoned RVs, there's people sleeping in them.                                    I mean, we've

19   had plenty of welfare checks in the area.

20           S o t y p i c a l l y w e t o w t h o s e v e h i c l e s , o r w e t r y t o w or k w i t h

21   someone, try to contact them to get them to move it to the

22   proper location, like an RV park or at a residence where it

23   c o u l d s t a y , w h i c h i t w a s n ' t p a r k e d i n f r o n t o f a r es i d e n c e .           It

24   was more of like a business area.

25   Q.      S o i s i t f a i r t o s a y t h a t t h e o u t c o m e t h a t y o u n ee d e d t o


     USA v. Dunsworth                                                                            3-10-2020
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1    achieve as police officers was to have this vehicle moved,

2    whether you moved it or somebody else moved it?

3    A.      Correct.

4    Q.      All right.          A s y o u a p p r o a c h e d t h e v e h i c l e , w h a t di d y o u

5    see?

6    A.      I saw that the back I think passenger side door, rear

7    d o o r , w a s c r a c k e d o p e n , t h e m o t o r c y c l e a n d t h e l a d de r w e r e

8    c o m p l e t e l y b l o c k i n g t h e s i d e w a l k , a n d t h a t w a s i t at t h e t i m e .

9    Q.      Did you see inside that door?

10   A.      I couldn't necessarily see inside of it.                              I know it was

11   open, but it wasn't completely open.                           I t w a s j u s t ki n d o f u p

12   against the RV, itself.                  But it looked like either someone was

13   in there or had been in there.

14   Q.      Okay.      C o u l d y o u s e e i n t h r o u g h a n y o f t h e w i n d o ws ?

15   A.      I d o n ' t b e l i e v e I l o o k e d t h r o u g h a n y o f t h e w i n d ow s a t t h e

16   time.      One of the other officers may have.

17   Q.      You don't recall being able to see through any of the

18   windows?

19   A.      I don't recall, myself.

20   Q.      So at this point, you're not sure whether anybody is

21   inside the trailer?

22   A.      Correct.

23   Q.      What did you do?

24   A.      I attempted to contact.                  I knocked on the door.                   No one

25   answered door and I didn't hear anything inside.                                   I knocked a


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1    s e c o n d t i m e a n d a n n o u n c e d , I b e l i e v e , A l b u q u e r q u e Po l i c e .

2    Still no answer.               And I believe Officer Montoya may have opened

3    the door at that time and saw a male laying in the bed.                                              I

4    think he asked him to step outside, or said, "Would you come

5    outside and talk to us real quick."                            T h e m a l e e x i t ed t h e R V - -

6    or, before he asked if he could put some pants on.                                       I guess he

7    grabbed some pants that were directly on the floor in front of

8    him, put the pants on, and he exited the RV without a shirt.

9            I began talking to him.                    Eventually I had asked him who he

10   was, and he identified himself as Daniel Dunsworth, which was

11   t h e r e g i s t e r e d o w n e r a n d w h o I w a s u n d e r t h e i m p r e ss i o n a t t h e

12   time had warrants out for his arrest.                              I asked him if he knew

13   if he had any warrants, to which he specified that he did.                                                I

14   t h e n g o t s o m e b a s i c i n f o r m a t i o n I n e e d e d t o c h e c k th r o u g h t h e

15   National Crime Information Center to check and see if those

16   warrants were valid.                 They were.

17           D u r i n g t h i s i n t e r a c t i o n , O f f i c e r C h a v e z I b e l i e v e as k e d

18   h i m i f h e w a n t e d a s h i r t , t o w h i c h D a n i e l s t a t e d , ye s .          He

19   asked him if he could enter the RV to grab him some clothing

20   items the first time, to which the male identified, or Daniel

21   at the time, identified, yes, he can --

22   Q.      Let me stop you there.                    A t a n y p o i n t , d i d y o u e n te r t h e

23   trailer?

24   A.      Not that I recall, no.

25   Q.      Did you open the door to the trailer?


     USA v. Dunsworth                                                                             3-10-2020
     3-10-2020                           M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      No.

2    Q.      You mentioned that the man identified himself as Daniel

3    Dunsworth.

4    A.      Correct.

5    Q.      And did he show you an identification for Daniel

6    Dunsworth?

7    A.      Yes.

8    Q.      A n d t h a t ' s t h e p e r s o n t h a t y o u r a n t h r o u g h y o u r po l i c e

9    system to determine whether he had any warrants; is that right?

10   A.      Correct.

11   Q.      Did you ask the man whether he had any warrants?

12   A.      I did, to which he stated, yes.                        H e s a i d p o s s i b l y, o r I

13   might, something along those lines, I believe.

14   Q.      Did you immediately get any information back from your

15   police system, or did you have to wait for that?

16   A.      There's a small time delay with whatever process they run

17   up there.        A f t e r I g i v e t h e m t h e i n f o r m a t i o n , a n d th e y g o o f f a

18   name, first name, last name, date of birth kind of thing, it's

19   a couple of seconds, sometimes a few minutes.                                 And then once

20   t h e y c o n f i r m i t , t h e y a s k i f w e ' r e o u t w i t h t h a t i nd i v i d u a l a n d

21   if we would like to confirm those warrants, which I did,

22   b e c a u s e I w a s u n d e r t h e i m p r e s s i o n I w a s o u t w i t h th a t s p e c i f i c

23   individual due to the information provided to me.

24   Q.      Okay.      D i d y o u , i n f a c t , h e a r b a c k f r o m y o u r p o l ic e

25   reporting system?


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.      Yes.

2    Q.      And what was that?

3    A.      That the individual had warrants.

4    Q.      What did you do then?

5    A.      I t h e n a l l o w e d t h e i n d i v i d u a l t o f i n i s h g e t t i n g dr e s s e d ,

6    as he was provided a shirt and some boots.                                At that point, I

7    knew he was under arrest.                    I w a s k i n d o f w a i t i n g f or h i m t o g e t

8    fully dressed.            I a d v i s e d h i m t h a t , y e s , h e d o e s h av e s o m e

9    warrants and that he would be going to jail.                                  H e w as k i n d o f

10   h e s i t a n t , a s k i n g i f t h e y ' r e m i s d e m e a n o r s , I b e l i e v e, a n d i f w e

11   c o u l d w o r k w i t h h i m , o r s o m e t h i n g a l o n g t h o s e l i n e s.     I just

12   s a i d t h a t w e ' r e j u s t g o i n g t o t a k e c a r e o f t h e s e t od a y a n d h e

13   should probably be out pretty soon.                           H e g o t d r e s s e d, p u t h i s

14   boots on, and then I placed him under arrest.

15   Q.      All right.          Officer Foster, after you placed the man under

16   a r r e s t , d i d y o u t a k e h i m b a c k t o t h e p o l i c e s u b s t a ti o n ?

17   A.      I did.

18   Q.      Was Officer Montoya with you?

19   A.      Correct.

20   Q.      What sort of processing did you do once you took the man

21   back to the station?

22   A.      Our paperwork, the report.                     We had to -- I guess due to

23   w h a t t h e o t h e r o f f i c e r s h a d f o u n d a n d w h a t I h a d f ou n d d u r i n g

24   m y s e a r c h i n c i d e n t t o t h e a r r e s t , w e n o w h a d a h i g he r s e t o f

25   charges.        It was no longer just the warrant.


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    Q.      What do you mean by a higher set of charges?

2    A.      Possession of drug paraphernalia was found in the

3    i n d i v i d u a l ' s p a n t s w h i l e I w a s d o i n g m y s e a r c h i n c id e n t t o t h e

4    a r r e s t , a s w e l l a s I b e l i e v e O f f i c e r C h a v e z , I ' m n ot s u r e

5    e x a c t l y , b u t t h e r e w a s a f i r e a r m f o u n d w i t h i n t h e RV .

6    Q.      During your processing of the man, did you at any time --

7    d i d y o u c o n t i n u e t o u n d e r s t a n d t h a t h i s n a m e w a s D an i e l

8    Dunsworth?

9    A.      To my understanding, up until that point, yes.

10   Q.      A n d w h e n y o u w e r e r u n n i n g a b a c k g r o u n d c h e c k o n th i s m a n ,

11   were you running a background check on a man named Daniel

12   Dunsworth?

13   A.      Yes.

14   Q.      S o a l l t h e i n f o r m a t i o n y o u h a d a s y o u w e r e a r r e s ti n g a n d

15   p r o c e s s i n g t h i s p e r s o n w a s t h a t h e w a s D a n i e l D u n s wo r t h ; i s

16   that correct?

17   A.      Correct.        Yeah, I mean, the photo that -- we have to do a

18   felony sup out.             It's a lot of information, and it was almost

19   identical to the male I was out with.                            I t l o o k e d v er y m u c h l i k e

20   him.

21   Q.      Y o u h a d n o k n o w l e d g e t h a t h e m i g h t b e s o m e b o d y o th e r t h a n

22   Daniel Dunsworth?

23   A.      Absolutely not.

24                   MR. OUTLER:           Your Honor, at this point I'd like to

25   play Officer Foster's lapel video.


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1                    THE COURT:           Okay.

2            (Whereupon Officer Foster's Lapel Video played)

3    BY MR. OUTLER:

4    Q.      Officer Foster, do you recall during this search incident

5    t o a n a r r e s t i f y o u f o u n d a n y t h i n g o n M r . D u n s w o r t h' s p e r s o n ?

6    A.      I t ' s m y r e c o l l e c t i o n t h a t i t w a s j u s t a w h i t e c r ys t a l l y

7    s u b s t a n c e t h a t w a s l a t e r t e s t e d w i t h a m e t h a m p h e t a mi n e t e s t k i t

8    that came back positive for meth.

9    Q.      All right.          Y o u s a i d e a r l i e r t h a t y o u h a d e v e n t u al l y r u n a

10   I I I b a c k g r o u n d c h e c k o n t h e D e f e n d a n t ; i s t h a t c o r re c t ?

11   A.      Correct.

12   Q.      Was that back at the station or at the scene?

13   A.      It'll be back at the substation.

14                   MR. OUTLER:           Thank you, Your Honor.                   I pass the

15   witness.

16                   THE COURT:           What did you call it, a triple what?

17                   MR. OUTLER:           Triple I; III.

18   BY MR. OUTLER:

19   Q.      Do you know what that stands for, Officer?

20   A.      I don't recall.              I t ' s n o t v e r y o f t e n t h a t w e c h e ck t h o s e ,

21   and they're with ATF.

22   Q.      But that's what you call it, right?

23   A.      Correct, the III.               I learned about it through my training

24   officer that day.

25   Q.      A n d t h a t ' s e s s e n t i a l l y a c r i m i n a l b a c k g r o u n d c h e ck f o r a n


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    particular individual?

2    A.    A more in-depth, correct.

3                  MR. OUTLER:            Thank you, Your Honor.                   Pass the

4    witness.

5                  THE COURT:           Counsel may cross.

6                  MS. RIVAS:           Thank you.

7                                         CROSS-EXAMINATION

8    BY MS. RIVAS:

9    Q.    Good morning.

10   A.    Good morning.

11   Q.    Y o u d i d n ' t r u n t h e n a m e R o b e r t D u n s w o r t h t h a t m o rn i n g ?

12   A.    No, I did not.

13   Q.    Y o u d o n ' t k n o w i f h e d i d o r d i d n o t h a v e a w a r r a nt ?

14   A.    Robert Dunsworth?

15   Q.    Right.

16   A.    Correct.

17   Q.    T h e w a r r a n t f o r D a n i e l D u n s w o r t h w a s a t r a f f i c t ic k e t ?

18   A.    T o m y b e s t r e c o l l e c t i o n , i t w a s m i s d e m e a n o r t r a f fi c

19   tickets.

20   Q.    A n d f o r t r a f f i c t i c k e t s , p e r s o n s a r e n ' t u s u a l l y ar r e s t e d ?

21   A.    They are, typically.                 I t y p i c a l l y s a w i t a n d I t yp i c a l l y

22   did at that time.             I t ' s k i n d o f a t t h e o f f i c e r ' s d is c r e t i o n ,

23   depending on -- it's a discretion kind of thing.

24   Q.    Y o u d o n ' t k n o w i f w h o e v e r g o t t h o s e t i c k e t s w a s ar r e s t e d

25   that day?


     USA v. Dunsworth                                                                          3-10-2020
     3-10-2020                        M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    A.     I was under the impression of who I was arresting had

2    those warrants.

3    Q.     B u t y o u d o n ' t k n o w w h o r e c e i v e d t h o s e t i c k e t s t h at d a y ?

4    A.     Who received them that day?                     I w a s u n d e r t h e i m p re s s i o n

5    that it was Daniel Dunsworth.

6    Q.     S o y o u d o n ' t k n o w w h o t h e p e r s o n w a s t h a t g o t t h os e

7    tickets that day?             Do you have personal knowledge?

8    A.     Do I have personal knowledge?

9    Q.     Yes, of who received those tickets.

10   A.     That day?

11   Q.     Right.

12   A.     W h o e v e r r e c e i v e d t h e m w a s t h e o n e t h a t g o t t h e w ar r a n t s ,

13   and that's who I was under the impression I was out with that

14   day.

15   Q.     But you don't know who that was?

16   A.     Daniel Dunsworth.

17   Q.     Did you arrest that person?

18   A.     At the time?

19   Q.     Did you issue those tickets back then?

20   A.     Did I issue them?

21   Q.     In Gallup.

22   A.     No.     But whoever, whichever officer it was, made contact

23   with a Daniel Dunsworth and gave him citations for that.

24   Mr. Daniel Dunsworth didn't show up to court, so he was given

25   warrants.


     USA v. Dunsworth                                                                          3-10-2020
     3-10-2020                        M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    Q.      You don't know if it was Daniel or Robert?

2    A.      If it was a Robert, it would most likely -- if he was

3    i d e n t i f i e d o r h a d a d r i v e r ' s l i c e n s e o f a R o b e r t , hi s n a m e

4    would be on those citations.

5    Q.      But you don't know?

6    A.      I wasn't in the officer's shoes.

7    Q.      Okay, thank you.

8            Y o u d i d n ' t k n o w i f a n y o n e w a s i n t h e t r a i l e r t h a t mo r n i n g ?

9    A.      I did not.

10   Q.      You said that you knocked on the door, and we saw that on

11   the video.         So, was your intention to knock on the door until

12   someone answered?

13   A.      I would try multiple attempts, yes, in the hopes of

14   someone possibly answering.

15   Q.      You were going to knock until someone came to the door?

16   A.      I was going to attempt to.                    A f t e r s o m a n y a t t e m p ts , t h e n

17   w e w o u l d b e u n d e r t h e i m p r e s s i o n t h a t n o o n e w a s p re s e n t a n d w e

18   would have to tow the vehicle.

19   Q.      You had never met the person that you saw in the trailer

20   that day?

21   A.      I had not.

22   Q.      When Officer Montoya opened the door, you didn't have a

23   search warrant for that trailer?

24   A.      No.

25   Q.      I n v i e w i n g t h e v i d e o , d o y o u r e m e m b e r M r . D u n s w o rt h


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    a s k i n g , i n h i s w o r d s , w h y d i d y o u a l l c o m e s t r o n g at h i m ?

2    A.      Correct.

3    Q.      A n d O f f i c e r C h a v e z , d u r i n g t h e q u e s t i o n s h e w a s as k i n g

4    M r . D u n s w o r t h r e g a r d i n g w h e r e t h e p h o n e m i g h t b e , yo u w e r e

5    handcuffing Mr. Dunsworth at the moment?

6    A.      I believe so.

7    Q.      M r . D u n s w o r t h w a s n o t d r i v i n g t h e c a r o r t h e t r a il e r o r

8    any vehicle at the time?

9    A.      It was not in motion.

10   Q.      A n d y o u h a v e l e g a l l y , u n d e r t h e C i t y c o d e , y o u h av e t h e

11   option of just tagging the car?

12   A.      We could.

13   Q.      But you didn't do that here?

14   A.      No.

15   Q.      A n d M r . D u n s w o r t h d i d s a y t h a t S h a r o n D u n s w o r t h wa s o n h e r

16   way back?

17   A.      Correct, later in the video.

18   Q.      A n d y o u d i s c u s s e d p o s s i b l y r e a c h i n g o u t t o M r . D un s w o r t h ' s

19   sister, who lived a few blocks away off of Texas?

20   A.      C o r r e c t , t o s e e i f w e c o u l d g e t t h e v e h i c l e m o v e d.

21   Q.      And in this case, you did not tow the vehicle?

22   A.      No.

23   Q.      And you did not conduct an inventory search?

24   A.      I did not.

25                   MS. RIVAS:          I have no other questions, Your Honor.


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1                    THE COURT:          Is there redirect?

2                    MR. OUTLER:           Nothing further, Your Honor.

3                    THE COURT:          So I'm clear, the warrants that you

4    a r r e s t e d h i m o n , w e r e t h o s e f a i l u r e t o a p p e a r w a r r an t s , i f y o u

5    know?

6                    THE WITNESS:            To my best recollection, yes.                        If you

7    r e c e i v e a c i t a t i o n a n d y o u d o n ' t s h o w u p , t h e n I w as u n d e r t h e

8    impression that it was a failure to appear.

9                    THE COURT:          Okay.       N o w , y o u w e r e o p e r a t i n g u n d e r t he

10   a s s u m p t i o n t h a t t h e g e n t l e m a n y o u w e r e h a v i n g c o n t ac t w i t h w a s

11   named Daniel Dunsworth, correct?

12                   THE WITNESS:            Absolutely.

13                   THE COURT:          A n d a t s o m e p o i n t , d i d y o u l e a r n t h a t th e

14   gentleman sitting in court is Robert Dunsworth?

15                   THE WITNESS:            Not that day.

16                   THE COURT:          Not that day?

17                   THE WITNESS:            Not that day.

18                   THE COURT:          Okay.       Did you have any knowledge about

19   t h e h a n d g u n b e i n g t a k e n i n t o p o s s e s s i o n b y t h e o f f ic e r s , o r

20   retrieved?

21                   THE WITNESS:            After the fact, once it was found by

22   the other officers.                I w a s s t a y i n g w i t h M r . D u n s w o rt h a t t h e

23   time since I was the arresting officer.                              I believe I was doing

24   a search while other officers I believe had entered and saw it

25   in plain view after entering the RV.                            I was not the one that


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    had found the firearm.

2                     THE COURT:          Do you know who retrieved the firearm?

3                     THE WITNESS:           I believe it was Officer Chavez.

4                     THE COURT:          Do you know why the firearm was being

5    retrieved?

6                     THE WITNESS:           Due to it being -- I believe it was

7    sitting somewhere in the RV.                       It was more of just a safety

8    measure at that point.                  We had someone else coming to pick up

9    t h e v e h i c l e , a n d I ' m n o t s u r e w h a t - - I ' m n o t t o o su r e .          I

10   don't recall.

11                    THE COURT:          Well, you understand today the

12   D e f e n d a n t ' s c h a r g e d w i t h b e i n g a f e l o n i n p o s s e s s i on ?

13                    THE WITNESS:           Correct.

14                    THE COURT:          A t t h e t i m e t h a t y o u h a d t h e i n t e r a c t i on

15   with him and you were placing him under arrest, to your

16   k n o w l e d g e , w a s t h e f i r e a r m b e i n g r e t r i e v e d a s a s a fe t y m e a s u r e

17   o r b e c a u s e y o u l e a r n e d t h a t t h e D e f e n d a n t h a d a p r io r f e l o n y

18   conviction?

19                    THE WITNESS:           W h e n w e p o s s i b l y l o o k e d d e e p e r i n t o --

20   I'm not sure if I had checked any previous history, arrest

21   history or anything.                 S o a t t h a t m o m e n t , t h e p o s s e ss i o n o f t h e

22   f i r e a r m , I ' m n o t s u r e i f w e h a d j u s t t a k e n p o s s e s s io n o f i t a n d

23   t h e n d i d s o m e f u r t h e r d i g g i n g a n d t h e n f o u n d o u t t ha t t h e r e

24   were felonies present.

25                    THE COURT:          You weren't the one doing the, as you


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    said, further digging?

2                    THE WITNESS:           Correct.

3                    THE COURT:          Now, does defense counsel have any

4    questions in light of my questions?

5                    MS. RIVAS:          P o s s i b l y , Y o u r H o n o r , i f I c o u l d h a v e on e

6    minute.       No, Your Honor.

7                    THE COURT:          Counsel for the United States?

8                    MR. OUTLER:          No, Your Honor.

9                    THE COURT:          All right.          May the witness be excused?

10                   MR. OUTLER:          Yes.

11                   THE COURT:          Thank you.          You may step down.

12                   THE WITNESS:           Thank you, Your Honor.

13                   THE COURT:          Is there any further evidence?

14                   MR. OUTLER:          No further evidence from the United

15   States.

16                   THE COURT:          What's counsel's preference?                       I've got a

17   lunch meeting today.                D o y o u w a n t t o m a k e c l o s i n g ar g u m e n t s , o r

18   do you want to come back after lunch?                            I n o t h e r w o rd s , d o y o u

19   w a n t t o m a k e c l o s i n g a r g u m e n t s n o w o r c o m e b a c k a f te r l u n c h ?

20                   MR. OUTLER:          T h e U n i t e d S t a t e s i s p r e p a r e d t o p r o c ee d

21   however it pleases the Court.                      I d o n ' t a n t i c i p a t e we ' r e g o i n g

22   to take very much time in argument.

23                   MS. RIVAS:          We agree, Your Honor.

24                   THE COURT:          Okay.      You may proceed, then.

25                   MR. OUTLER:          Your Honor, the defense has raised the


     USA v. Dunsworth                                                                           3-10-2020
     3-10-2020                         M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    question of Officer Montoya's original pushing the door open,

2    a n d t h e n l a t e r O f f i c e r C h a v e z ' s e n t r y i n t o t h e t r a il e r l o o k i n g

3    f o r t h e p h o n e , a n d e v e n t u a l l y f i n d i n g t h e p h o n e n e xt t o a

4    firearm, both as Constitutional violations.                                 W i t h re s p e c t ,

5    neither one was.

6                    O f f i c e r M o n t o y a ' s o r i g i n a l p u s h i n g o f t h e d o o r o p e n,

7    I could not find a case that would squarely address this on

8    p o i n t , b u t t h e U n i t e d S t a t e s s u b m i t s t h a t t h a t w a s n' t a s e a r c h .

9    The officer was not trying to investigate a crime, he was not

10   looking for a particular person related to a crime at that

11   p o i n t , h i s e n t i r e m i n d s e t w a s , t h i s v e h i c l e n e e d s to b e m o v e d ,

12   at this point I don't believe somebody is here who can move it,

13   s o I ' m g o i n g t o h a v e t o t o w i t , b u t I ' m g o i n g t o t ak e t h i s l a s t

14   s t e p , b e c a u s e t h e d o o r i s a l r e a d y o p e n , j u s t t o c o nf i r m t h a t

15   there is, in fact, nobody here.                        S o h e o p e n s t h a t do o r j u s t t o

16   t a k e t h a t f i n a l s t e p t o f i n d o u t i f s o m e b o d y i s p r es e n t b e f o r e

17   he moves on to the next step, which would be to tow the

18   vehicle.        In fact, he finds somebody there, and he doesn't

19   enter the vehicle.               H e j u s t a s k s t h a t p e r s o n t o c o me o u t .          And

20   t h a t ' s t h e e n d o f w h a t t h e d e f e n s e i s c h a r a c t e r i z i ng a s a n

21   illegal search or illegal seizure of that person.

22                   I f a f t e r k n o c k i n g a n d a n n o u n c i n g t h e m a n h a d c o m e to

23   the door, they would have asked him the same thing, to step

24   out.      They would have taken his information.                              Based on the

25   information he provided, they would have determined the same


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1    t h i n g , t h a t h e h a d w a r r a n t s , a n d t h e y w o u l d h a v e p la c e d h i m

2    under arrest.            A n d t h e y w o u l d h a v e s t i l l b e e n i n t he s a m e

3    p o s i t i o n t h a t t h e y w e r e b e f o r e , w h i c h i s , w e h a v e to m o v e t h i s

4    vehicle, this vehicle has to be moved.                             O f f i c e r s c an n o t l e a v e

5    t h e s c e n e u n t i l s o m e a r r a n g e m e n t h a s b e e n m a d e t o mo v e t h i s

6    v e h i c l e , w h e t h e r t h a t ' s b y t o w i n g o r b y s o m e b o d y e ls e w h o i s

7    allowed, and capable of moving it, moving it.                                  S o in t h a t

8    r e s p e c t , t h e U n i t e d S t a t e s s u b m i t s t h e r e w a s n o i l le g a l e n t r y

9    or search or seizure into the vehicle when Officer Montoya

10   pushed the door open.

11                   But even if it was, the man would have been located

12   eventually if he had either come to the door on his own or if

13   the officers had to tow that vehicle.                             T h e r e ' s n o qu e s t i o n t h a t

14   t h e y w o u l d h a v e h a d t o e n t e r t h a t v e h i c l e t o i n v e n to r y i t , a n d

15   i f t h e r e h a d b e e n a p e r s o n i n t h e r e , t h e y w o u l d h a ve f o u n d t h a t

16   person.

17                   The second, according to the defense, problematic

18   e n t r y i n t o t h e v e h i c l e w a s O f f i c e r C h a v e z ' s e n t r y to l o c a t e t h e

19   phone.       A s t h e C o u r t s a w c l e a r l y f r o m t h e v i d e o , t ha t w a s a

20   permissive entry.              They initially asked the person, asked the

21   man, if they could contact his wife; he said, yes.                                      They asked

22   him for the phone number; he didn't remember it.                                    Th e y a s k e d

23   him where the number was; it was on his phone.                                   W h er e w a s h i s

24   phone?       It's in the vehicle.                 May we go inside and get it?

25   Yes.      That's the only reason, and that's the entire reason for


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1    Officer Chavez's entry into the vehicle to look for the phone.

2                     The defense further characterizes Officer Chavez's

3    entry into the trailer as beyond the scope of just looking for

4    the phone.          T o r e a d t h e b r i e f , i t s o u n d s l i k e O f f i ce r C h a v e z

5    r a v a g e d t h e t r a i l e r l o o k i n g f o r a n y t h i n g b u t t h e p ho n e .       But as

6    the Court could see from the videos, his search was restrained,

7    i t w a s e x a c t l y i n t h e a r e a s t h a t t h e D e f e n d a n t , s u ch a s h e

8    could, described where the phone might be.                                 At one point,

9    O f f i c e r C h a v e z a c t u a l l y c a m e b a c k o u t o f t h e v e h i c le a n d a s k e d

10   for clarification.                " Y o u s a i d t h e p h o n e w a s n e a r t he b e d , c o u l d

11   it be on the nightstand?                    C o u l d i t b e i n t h e b a c k p ac k ? "         He

12   w a s n ' t g e t t i n g a n y c l e a r i n f o r m a t i o n f r o m t h e m a n ab o u t w h e r e

13   the phone was, except for the vague impression that it's

14   somewhere near the bed.                    S o O f f i c e r C h a v e z g o e s b a ck i n a n d

15   t h e n f i n d s t h e p h o n e , i n f a c t , o n t h e b e d u n d e r n e a th a j a c k e t

16   next to a firearm.                T h a t s e a r c h i s n o t a C o n s t i t u t io n a l

17   violation.          It was clearly permissive.                      A n d t h e e v id e n c e i n

18   q u e s t i o n h e r e w a s l o c a t e d d u r i n g t h a t p e r m i s s i v e s ea r c h .

19                    But even if that were a problematic search, even if

20   that were somehow a violation of the Constitution, if the man

21   h a d n o t g i v e n c l e a r p e r m i s s i o n t o g o i n s i d e , t h e f ir e a r m w o u l d

22   h a v e b e e n l o c a t e d d u r i n g a n i n v e n t o r y s e a r c h s u b j e ct t o t o w .

23   The fact that the man had been placed under arrest only

24   i n c r e a s e d t h e p o s s i b i l i t y o r t h e l i k e l i h o o d t h a t t hi s c a r w o u l d

25   have to be towed.               It certainly would still have to be moved,


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1    a n d n o w t h e m a n , t h e o n e p e r s o n w h o i s t h e r e a n d c ap a b l e o f

2    moving it, is under arrest and is going to be taken away.

3                     So it's even more likely at this point that there's

4    going to be a towing process.                        T h i s i s t h e o f f i c e r s' s t a t e o f

5    mind at this point.                 A towing is likely the outcome of this.

6    I n c i d e n t t o t o w i n g w o u l d b e a n i n v e n t o r y s e a r c h , a nd t h e

7    evidence that was found that ultimately implicates the

8    D e f e n d a n t i n a F e d e r a l c o u r t c a s e w o u l d h a v e b e e n fo u n d d u r i n g

9    that search.

10                    THE COURT:           Ms. Rivas.

11                    MS. RIVAS:           Thank you, Your Honor.

12                    Your Honor, the officers approached this trailer

13   without knowing who was in there, or if anyone was in there.

14   T h e o f f i c e r s i m p e r m i s s i b l y o p e n e d t h e d o o r a n d i m m ed i a t e l y

15   seized Mr. Dunsworth by asking him to step out.                                     He did have an

16   expectation of --

17                    THE COURT:           H o w i s t h a t i m p r o p e r , t h a t i n i t i a l p a r t?

18   I m e a n , i f s o m e o n e i s i n t h e r e , t h e n t h e y ' r e n o t g oi n g t o h a v e

19   to tow it.          I m e a n , i t s t r i k e s m e a s p r e t t y r e a s o n ab l e f o r t h e m

20   to knock on the trailer door and see if someone is in there.

21                    MS. RIVAS:           Your Honor, I think it's reasonable to

22   knock on the door.                What's unreasonable is for the officers to

23   open the door and immediately ask him to step out.

24                    THE COURT:           W a s n ' t t h e i r t e s t i m o n y t h a t t h e d o o r w as

25   partially open?


     USA v. Dunsworth                                                                             3-10-2020
     3-10-2020                           M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1                     MS. RIVAS:          Your Honor, the Court can see from our

2    Exhibits B, C and D that the door was not partially open, and

3    i t w a s i m p o s s i b l e f o r a n y o n e w i t h n o r m a l h u m a n v i s io n t o b e

4    a b l e t o s e e t h r o u g h t h a t d o o r a n d s e e t h a t t h e r e w as a n y o n e i n

5    there.

6                     Your Honor, the officers immediately seized --

7                     THE COURT:          Let me ask you this:                  Exhibit B is

8    admitted.         W h a t ' s y o u r r e p r e s e n t a t i o n a s t o w h e n t he p h o t o w a s

9    taken?

10                    MS. RIVAS:          Your Honor, that is a screenshot, and I

11   believe that I left the time at the bottom right of the screen

12   capture.

13                    THE COURT:          It was a screenshot off the video?

14                    MS. RIVAS:          Yes, it was, Your Honor.                     Those were

15   screenshots as the officers approached the trailer.

16                    Your Honor, Mr. Dunsworth was vulnerable and had an

17   expectation of privacy.                   H e w a s a s l e e p i n h i s u n d e rw e a r .

18   That's fairly private.                   I m m e d i a t e l y t h e o f f i c e r a s ke d h i m t o

19   s t e p o u t , a n d M r . D u n s w o r t h d o e s n ' t s t e p o u t w i t h o ut f i r s t

20   asking permission.                T h e o f f i c e r s t a k e c o n t r o l o f h im r i g h t

21   away.

22                    H e ' s o u t s i d e o f h i s t r a i l e r w i t h n o s h o e s , n o s h i r t.

23   O f f i c e r M o n t o y a s t a r t s a s k i n g h i m q u e s t i o n s a b o u t th e b r u i s e s

24   on his stomach.              I f t h e C o u r t w i l l s e e f r o m t h e v i de o ,

25   M r . D u n s w o r t h d o e s n ' t s a y , " H e y , c a n o n e o f y o u r o ff i c e r s g o i n


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    there and grab me a shirt?"                     N o , h e s a y s , " C a n I h av e a s h i r t ? "

2    And the response is, "My officer can go in there."                                      "Can I have

3    some shoes?"

4                    T h e o f f i c e r s a s k e d M r . D u n s w o r t h f o r h i s i n f o r m a t i on .

5    H a d h e p r o v i d e d h i s c o r r e c t i n f o r m a t i o n , I d o n o t be l i e v e t h a t

6    any warrants would have come back for him.                                T h e r e wo u l d h a v e

7    been no reason to apprehend him.

8                    THE COURT:          Right, but that's not the officers'

9    fault, is it?

10                   MS. RIVAS:          No, Your Honor.               B u t t h a t a l s o , I t h i n k,

11   c r e a t e s a n i s s u e o f w h e t h e r , a s t h e G o v e r n m e n t a r g ue s , h i s

12   a r r e s t w o u l d h a v e b e e n i n e v i t a b l e a n d t h a t t h e t r a il e r w o u l d

13   have been towed.              T h e y o p e n e d t h e d o o r t o t h e t r a i le r w i t h o u t

14   probable cause, without any exigent circumstances.

15                   And regarding the consent, Your Honor, we ask the

16   Court to see that any consent that he gave was not voluntary.

17   There are three officers surrounding him.                               O n e i s at t h e

18   e n t r a n c e o f t h e t r a i l e r , a n d t h e o t h e r t w o a r e p o s it i o n e d s o

19   that he cannot, in essence, walk away.                             H e ' s o u t t he r e w i t h n o

20   shirt, no shoes.              By Mr. Dunsworth's own words, the Court can

21   hear him say, "Why did you come to me all strong?"                                      He feels

22   t h e p o w e r o f t h r e e p o l i c e o f f i c e r s a s k i n g h i m a l l th e s e

23   questions.

24                   T h e q u e s t i o n s r e g a r d i n g w h e r e t h e p h o n e m i g h t b e a re

25   one after the other.                And not only that, but during those


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    q u e s t i o n s , M r . D u n s w o r t h i s b e i n g a r r e s t e d a n d i s be i n g p l a c e d

2    in handcuffs.            As the Court can see from the video, it's windy,

3    and the officer keeps asking questions.                              I s i t i n th e

4    nightstand?          Is it next to it?               Is it on the floor?                  Is it in a

5    backpack?         A l l t h o s e t h i n g s t h a t O f f i c e r C h a v e z a s ke d , t h e

6    phone was not found in any of those places.

7                    We'd ask the Court to find that a search of that

8    t r a i l e r w a s n o t i n e v i t a b l e , b e c a u s e i t w a s n o t t o w ed a n d i t w a s

9    not inventoried.              I t ' s n o t a h y p o t h e t i c a l , t h i s m i gh t n o t b e

10   t o w e d a n d t h i s m i g h t n o t b e i n v e n t o r i e d , b e c a u s e , in f a c t - -

11                   THE COURT:          If you look at your Exhibit B, you see a

12   motorcycle that's totally blocking the sidewalk.                                    So t h e r e ' s n o

13   w a y a p e d e s t r i a n c a n w a l k , b e c a u s e y o u ' v e g o t a c h ai n l i n k

14   f e n c e o n t h e r i g h t s i d e o f t h e p h o t o , y o u ' v e g o t t he t r a i l e r ,

15   and you've got a motorcycle there.                          S o w h e n t h e o f fi c e r s a r e

16   e n t e r i n g - - I m e a n , I c a n ' t q u o t e i t o f f h a n d , b u t I' m p o s i t i v e

17   t h e r e ' s p r o b a b l y s o m e k i n d o f C i t y o r d i n a n c e t h a t pr e v e n t s t h e

18   motorcycle from blocking the sidewalk.

19                   And then, the officers were dispatched because I

20   think the testimony was the trailer had been there several

21   days.      Y o u c a n ' t j u s t p a r k a t r a i l e r w h e r e v e r y o u wa n t o n t h e

22   side of a street and leave it there.                            F o r a l l t h e of f i c e r s

23   knew, the trailer could have been abandoned.                                  I f i t' s a b a n d o n e d

24   p r o p e r t y , t h e y ' v e g o t t o - - I g u e s s I ' m h a v i n g t r o ub l e

25   understanding your argument that there's a right of privacy


     USA v. Dunsworth                                                                            3-10-2020
     3-10-2020                          M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    t h e r e i n t e r m s o f y o u c a n j u s t p a r k a t r a i l e r i l l e ga l l y a n d

2    just leave it there.

3                     MS. RIVAS:          Your Honor, what we're saying about the

4    vehicle being parked illegally is, we asked Officer Montoya and

5    h e c o n f i r m e d t h a t t o w i n g t h e v e h i c l e w a s d i s c r e t i o na r y .     So I

6    t h i n k t h a t g o e s t o w a r d w h a t t h e G o v e r n m e n t i s a r g u in g , t h a t a

7    t o w a n d a n i n v e n t o r y w o u l d h a v e b e e n i n e v i t a b l e , b ec a u s e t h e y

8    d i d h a v e t h e o p t i o n , t h e y d i d h a v e t h e d i s c r e t i o n of

9    r e d - t a g g i n g i t , a s I t h i n k O f f i c e r M o n t o y a i n d i c a t ed , a n d

10   trying to somehow reach the owner of the vehicle.                                      But it was

11   n o t s o m e t h i n g t h a t h a d t o b e d o n e o r r e q u i r e d , i t wa s

12   discretionary.

13                    Your Honor, we also ask that the Court observe,

14   regarding the consent, that the Government has the burden of

15   p r o v i n g t h a t i t w a s a n e x p r e s s c o n s e n t , a n d w e ' d a sk t h e C o u r t

16   t o f i n d t h a t M r . D u n s w o r t h ' s w o r d s o f , " I t ' s i n t h er e , " i s n o t

17   an express consent.                 T h e o f f i c e r s d i d n ' t a s k o p e n - en d e d

18   questions like, "Hey, is it okay if we go into your trailer to

19   maybe retrieve your phone?"                      I believe that Officer Montoya

20   s a i d , " H e y , m y p a r t n e r c a n g o i n a n d g e t t h e p h o n e ."          With

21   three officers around him, him sitting on the bench -- I mean,

22   o n t h e c u r b , a b o u t t o b e a r r e s t e d , t h a t i s n o t e x p re s s a n d i s

23   not voluntary.

24                    And Your Honor, regarding the issue of the door, I

25   realize that the case we cited, Arellano-Ochoa, had to do with


     USA v. Dunsworth                                                                             3-10-2020
     3-10-2020                           M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    t h e t r a i l e r , b u t i t d i d c o n f i r m a s i m i l a r s i t u a t i o n, w h i c h i s

2    that there is some expectation of privacy even when it's just a

3    screen door that's closed.                        A n d i n t h i s c a s e , n o t on l y w a s t h e

4    s c r e e n d o o r c l o s e d , t h e s o l i d w o o d d o o r w a s a l s o c lo s e d .         And

5    a s w e s u b m i t f r o m o u r e x h i b i t s , i t w a s i m p o s s i b l e fo r t h e

6    officers to have seen that anyone was in there.

7                     So for those reasons, Your Honor, we ask that the

8    C o u r t f i n d t h a t t h e i n i t i a l a p p r o a c h i m m e d i a t e l y s ei z e d

9    M r . D u n s w o r t h , t h a t a n y q u e s t i o n s w e r e a n s w e r e d u n de r d u r e s s ,

10   a n d t h a t a n y t h i n g t h a t f l o w e d f r o m t h e i n i t i a l e n t ra n c e t o t h e

11   t r a i l e r v i o l a t e d M r . D u n s w o r t h ' s C o n s t i t u t i o n a l r i gh t s .

12                    THE COURT:            Since the United States has the burden of

13   proof, I'll give you the last word here.

14                    MR. OUTLER:             Your Honor, just briefly, the defense a

15   n u m b e r o f t i m e s k i n d o f c h a r a c t e r i z e d t h e p o l i c e r es p o n s e t o

16   t h i s c a l l f o r s e r v i c e a s h e a v y - h a n d e d , t h a t t h e y w er e c o e r c i v e

17   w i t h h i m , t h e y w e r e p r e s s u r i n g h i m a n d p e p p e r i n g h im w i t h

18   questions.           I t h i n k a s t h e C o u r t c a n s e e f r o m t h e vi d e o s , i t

19   was anything but heavy-handed.                           I f a n y t h i n g , t h e y we r e o v e r l y

20   s o l i c i t o u s a n d p a t i e n t w i t h M r . D u n s w o r t h , t r y i n g to f i n d a

21   solution to this problem.

22                    It makes a difference that the officers' state of

23   m i n d t h r o u g h o u t t h i s p r o c e s s w a s t h a t t h i s w a s a n il l e g a l l y

24   parked vehicle that had to be moved.                               I n t h e p r o c e ss o f

25   f i g u r i n g o u t h o w t h a t w a s g o i n g t o b e d o n e , t h e y f ou n d a p e r s o n


     USA v. Dunsworth                                                                              3-10-2020
     3-10-2020                            M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
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1    who had outstanding warrants, so they had to arrest that

2    person.        But they weren't investigating any further crime at

3    that point.           They didn't know there was any further crime at

4    that point.           So their state of mind remained, okay, we now have

5    a person under arrest, we already had a reason that the vehicle

6    needed to be moved, now we have another reason the vehicle

7    n e e d s t o b e m o v e d , a n d t h a t ' s w h e r e t h e y w e r e i n t hi s .

8                     We have cited in our brief and attached for the

9    Court's knowledge as Exhibit 8 the City ordinances that this

10   parked RV was violating.                    These are the reasons why the

11   o f f i c e r s s i m p l y c o u l d n ' t l e a v e t h a t s c e n e w i t h o u t ma k i n g

12   arrangements for that vehicle to be moved.                                 S o i f no b o d y h a d

13   been found, if nobody had come to the door, if they hadn't

14   f o u n d s o m e b o d y i n s i d e , t h e y m o s t d e f i n i t e l y w o u l d ha v e t o w e d

15   t h a t v e h i c l e , a n d i f t h e y h a d , t h e y w o u l d h a v e i n v en t o r i e d i t

16   and found the firearm.

17                    THE COURT:          Okay.       I'll take the matter under

18   advisement and I'll issue a written decision.                                   P r o ba b l y I ' l l

19   get it out by the end of this week or early part of next week.

20                    Anything further from the United States?

21                    MR. OUTLER:           Nothing further, Your Honor.

22                    THE COURT:          Anything further from the defense?

23                    MS. RIVAS:          No, Your Honor.

24                    THE COURT:          All right, thank you.                   We're in recess.

25   (Proceedings adjourned at 11:55 A.M.)


     USA v. Dunsworth                                                                             3-10-2020
     3-10-2020                           M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
     Case 1:18-cr-03475-WJ Document 62 Filed 04/09/20 Page 69 of 69

1                            IN THE UNITED STATES DISTRICT COURT

2                                FOR THE DISTRICT OF NEW MEXICO

3    ___________________________
                                )
4    UNITED STATES OF AMERICA,  )
                                )
5              Plaintiff,       )
                                )
6         vs.                   )                          No. 1:18-CR-03475-WJ
                                )
7    ROBERT DUNSWORTH,          )                         H e a r i n g r e : D e f e n d a nt ' s M o t i o n
                                )                         for Suppression of Evidence
8              Defendant.       )                         (Doc. 39)
     ___________________________)
9

10                        CERTIFICATE OF OFFICIAL COURT REPORTER

11           I, Mary K. Loughran, CRR, RPR, New Mexico CCR #65, Federal

12   R e a l t i m e o f f i c i a l C o u r t R e p o r t e r , i n a n d f o r t h e U ni t e d S t a t e s

13   D i s t r i c t C o u r t f o r t h e D i s t r i c t o f N e w M e x i c o , d o he r e b y

14   c e r t i f y t h a t p u r s u a n t t o S e c t i o n 7 5 3 , T i t l e 2 8 , U n it e d S t a t e s

15   C o d e , t h a t t h e f o r e g o i n g i s a t r u e a n d c o r r e c t t r a ns c r i p t o f

16   t h e s t e n o g r a p h i c a l l y r e p o r t e d p r o c e e d i n g s h e l d i n th e

17   a b o v e - e n t i t l e d m a t t e r o n T u e s d a y , M a r c h 1 0 , 2 0 2 0 , an d t h a t t h e

18   t r a n s c r i p t p a g e f o r m a t i s i n c o n f o r m a n c e w i t h t h e re g u l a t i o n s

19   of the Judicial Conference of the United States.

20   Dated this 8th day of April, 2020.

21

22   ______________________________________
     MARY K. LOUGHRAN, CRR, RPR, NM CCR #65
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     USA v. Dunsworth                                                                             3-10-2020
     3-10-2020                           M o t i o n f o r S u p p r e s s i o n o f E v i de n c e H e a r i n g
